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                                                                         Execution Version




                         ASSET PURCHASE AGREEMENT




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                                         ASSET PURCHASE AGREEMENT

                    THIS ASSET PURCHASE AGREEMENT ("Agreement"), dated as of August 22, 2018
            is made and entered into by and among Stratesphere, LLC, an Ohio limited liability company
            ("Stratesphere"), Kognetics Holding Company LLC, an Ohio, limited liability company
            ("Purchaser"), Kognetics LLC, an Ohio limited liability company ("Kognetics LLC"),
            Kognetics, Inc., a Delaware corporation ("Seller"), Inderpreet S. Thukral ("Inder") and Rajeev
            Vaid ("Rajeev," together with Inder the "Guarantors"; and the Seller together with the
            Guanators, the "Seller Group").

                                                    WITNESSETH:

                    WHEREAS, Stratesphere has formed Purchaser for the purpose of acquiring the Assets,
            as hereinafter defined;

                   WHEREAS, Purchaser has formed Kognetics LLC to which it will transfer certain
            Assets comprising the Business, as defined below, other than the Software;

                    WHEREAS, Seller owns all of the right, title and interest in the Software, as defined
            hereinafter, various trademarks, copyrights, trade secrets and related intellectual property all as
            further described in this Agreement;

                   WHEREAS, Seller is engaged in marketing, selling and distributing the Software as a
            subscription service and has certain customer contracts (the "Business");

                   WHEREAS, Purchaser desires to purchase from Seller, and Seller desires to sell to
            Purchaser, the Assets (as defined below) relating to the Business upon the terms and subject to
            the conditions set forth in this Agreement;

                   WHEREAS, Purchaser owns 500,000 Class A voting membership units of Kognetics
            LLC and, in connection with this transaction Kognetics LLC will issue to Seller 125,000 Class B
            voting membership units, constituting twenty percent (20%) of the total issued and outstanding
            membership units of Kognetics LLC;

                    WHEREAS, capitalized terms used herein shall have the meanings ascribed to them in
            Article X;

                    NOW, THEREFORE, in consideration of the foregoing and the mutual covenants and
            promises contained in this Agreement and other good and valuable consideration, the receipt and
            sufficiency of which are hereby acknowledged, the parties hereto, intending to be legally bound,
            hereby agree as follows:




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                                                      AGREEMENT

                                                ARTICLE I.
                                      PURCHASE AND SALE OF THE ASSETS

                   Section 1.01. Assets. Upon the terms and subject to the conditions set forth in this
           Agreement and on the basis of the representations, warranties, covenants and agreements herein
           contained, at the Closing, Purchaser shall purchase, acquire and accept from Seller, and Seller
           shall sell, transfer, assign, convey and deliver to Purchaser, all of Seller's right, title and interest
           in and to the following properties, assets and interests of Seller (collectively, the "Assets"), free
           and clear of all Encumbrances:

                   (a)     all rights in, to and under the Assigned Contracts and all outstanding offers or
           solicitations made by or to Seller in the Ordinary Course of Business to enter into any Contract
           with respect to the Software;

                   (b)     all Intangible Assets;

                  (c)     all Intellectual Property Assets and all Proprietary Intellectual Property Assets (as
           hereinafter defined), including without limitation, such Intellectual Property Assets and
           Proprietary Intellectual Property Assets as are described on Schedule 1.01(c);

                   (d)    stationery, purchase order and sale order forms and invoices, brochures,
           advertising and promotional materials and similar items relating to the Business;

                   (e)      all marketing materials, research data (including marketing and concept testing
           data), customer and sales information, literature, advertising and other promotional materials and
           data, display materials and all training materials in whatever medium (e.g., audio, visual, digital
           or print), in each case, primarily used with respect to the Software;

                  (f)     all websites and website URLs and all social media accounts, including
           administrative rights and access and all content thereon, used in the Business; and

                  (g)     all goodwill relating to the Business or the Assets, including without limitation all
           goodwill associated with each registered trademark and trademark application and each
           unregistered trademark.

                   (h)     The Software and Documentation as are described on Schedule 1.01(h).

                   Section 1.02. Excluded Assets. Notwithstanding any other provision of this Agreement
           to the contrary, any assets of Seller, relating to the Business or otherwise, which are not included
           in the Assets are not part of the sale and purchase contemplated hereunder, are excluded from the
           definition of Assets and shall remain the sole property of Seller after the Closing (collectively,
           the "Excluded Assets").

                  Section 1.03. Assumed Liabilities. At the Closing, Purchaser shall assume and agree to
           discharge the following Liabilities of Seller (collectively, the "Assumed Liabilities"), and


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          Purchaser shall not assume, incur, guarantee, or be otherwise obligated with respect to any
          Liability whatsoever of Seller other than as here stated:

                 (a)    those Liabilities of Seller under the Assigned Contracts accruing on or after the
          Closing Date, which Assigned Contracts are set forth on Schedule 1.03(a); and

                  (b)     those Liabilities of Seller under the assigned vendor contracts, but only to the
          extent set forth on Schedule 1.03(b), and only to the extent those Liabilities arise after the date
          hereof.

                 With respect to any Assumed Liability, such assumption by Purchaser is for the benefit
          only of Seller and shall not expand, increase, broaden, or enlarge the rights or remedies of any
          other party, nor create in any other party any right against Purchaser that such party would not
          have against Seller if this Agreement had not been consummated.

                  Section 1.04. Other Liabilities Not Assumed. Purchaser shall not assume any other
          Liabilities of Seller. Without limiting the generality of the foregoing, the Assumed Liabilities
          will not include, and Purchaser shall not assume under this Agreement, any of the Excluded
          Liabilities.

                 Section 1.05. Purchase Price. The purchase price to be paid by Purchaser to Seller for
          the Assets (the "Purchase Price") shall be the sum of the following:

                 (a)    Stratesphere shall issue a number of its Class A membership units equal to ten
          percent (10%) of the issued and outstanding membership units to Seller; and

                  (b)    Kognetics LLC shall issue to Seller 125,000 Class B voting membership units,
          constituting twenty percent (20%) of Kognetics LLC's issued and outstanding membership units.

                  Section 1.06. Assignment of Contracts.

                  (a)     If required by applicable Law or the terms thereof to properly assign any
          Assigned Contract without breach or violation thereof, Seller agrees to use commercially
          reasonable efforts to obtain the consent of each other party to any such Assigned Contract prior
          to the Closing. Nothing in this Agreement or any of the Related Agreements shall be deemed to
          constitute an assignment or an attempt to assign any Contract to which Seller is a party if the
          attempted assignment thereof without the consent of the other party to such Contract would
          constitute a breach thereof or affect in any way the rights of Seller thereunder.

                  (b)     If there are any consents or approvals required to be obtained pursuant to the
           Schedule 1.06(b) (the "Required Approvals Schedule") (collectively, the "Material Consents",
           and each a "Material Consent") that have not yet been obtained (or otherwise are not in full force
           and effect) as of the Closing, in the case of each Assigned Contract as to which such Material
           Consent was not obtained (or otherwise are not in full force and effect) (each, a "Restricted
           Material Contract"), Purchaser may, but shall not be required to, waive the closing conditions as
           to any such Material Consent and either: (i) elect to have Seller continue to use its commercially
           reasonable efforts to obtain the Material Consent; or (ii) elect to have Seller retain that Restricted
           Material Contract and all liabilities arising therefrom or relating thereto. If Purchaser elects to

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          have Seller continue its commercially reasonable efforts to obtain any Material Consent and the
          Closing occurs, notwithstanding this Agreement, neither this Agreement nor the Assignment and
          Assumption Agreement nor any other document related to the consummation of the transactions
          contemplated by this Agreement shall constitute a sale, assignment, assumption, transfer,
          conveyance or delivery or an attempted sale, assignment, assumption, transfer, conveyance or
          delivery of any Restricted Material Contract, and following the Closing, the parties shall use
          their respective commercially reasonable efforts, and cooperate with each other, to obtain the
          Material Consent relating to each Restricted Material Contract as quickly as practicable. Prior to
          the obtaining of such Material Consents, the parties shall cooperate with each other in any
          reasonable and lawful arrangements designed to provide to Purchaser the material benefits of use
          of any and all Restricted Material Contracts for their respective terms (or any right or benefit
          arising thereunder, including the enforcement for the benefit of Purchaser of any and all rights of
          Seller against a third party thereunder). When a Material Consent for the sale, assignment,
          assumption, transfer, conveyance and delivery of a Restricted Material Contract is obtained,
          Seller shall promptly assign, transfer, convey and deliver such Restricted Material Contract to
          Purchaser, and Purchaser shall assume the obligations under such Restricted Material Contract
          assigned to Purchaser from and after the Closing Date pursuant to a special-purpose assignment
          and assumption agreement substantially similar in terms and conditions set forth in the
          Assignment and Assumption Agreement (which special-purpose agreement the parties shall
           prepare, execute and deliver in good faith at the time of such transfer at Purchaser's expense).

                   Section 1.07. Allocation of Purchase Price. The Allocation of Purchase Price
          Schedule attached hereto as Schedule 1.07 sets forth the allocation of the Purchase Price and the
          Assumed Liabilities among the Assets (the "Preliminary Allocation"). Purchaser and Seller shall
          file, in accordance with Section 1060 of the Code, an Asset Allocation Statement on Form 8594
          (which reflects such allocation) with their federal income Tax Return for the Tax year in which
          the Closing Date occurs and shall contemporaneously provide the other parties hereto with a
          copy of the Form 8594 being filed. Purchaser and Seller each agree not to assert, in connection
          with any Tax Return, audit or similar proceeding, any allocation of the Purchase Price and the
          Assumed Liabilities that differs from the allocation set forth on the Allocation of Purchase Price
          Schedule herein.

                   Section 1.08. Royalty Payments. Purchaser agrees to pay Seller a royalty for each
           Royalty Year, as hereinafter defined, of $100,000, which amount shall be paid in equal bi-annual
           installments on or about January 31' and July 31" of each year. In addition, Purchaser shall pay
           an additional Royalty for each Royalty Year as set forth below:

                   (a)    for Royalty Year 2019, if Collected Revenue as hereinafter defined, from the
           Business exceeds $7,000,000 in calendar year 2019, an additional Royalty payment of $50,000
           shall be paid on or around January 31, 2020;

                   (b)    for Royalty Year 2020, if Collected Revenue as hereinafter defined, from the
           Business exceeds $15,000,000 in calendar year 2020, an additional Royalty payment of $100,000
           shall be paid on or around January 31, 2021;




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                  (c)    for Royalty Year 2021, if Collected Revenue as hereinafter defined, from the
          Business exceeds $25,000,000 in calendar year 2021, an additional Royalty payment of $250,000
          shall be paid on or around January 31, 2022; and

                  (d)    for Royalty Year 2022, if Collected Revenue as hereinafter defined, from the
          Business exceeds $35,000,000 in calendar year 2022, an additional Royalty payment of $300,000
          shall be paid on or around January 31, 2023.

                 Section 1.09. Issuance of Additional Class B Units to Seller.

                 (a)      Purchaser shall cause Kognetics LLC to issue additional Class B Units to Seller as
          follows:

                         (i)     if Collected Revenue for calendar year 2019 exceeds $6,000,000 then
                 Seller shall be issued additional Class B Units equal to four percent (4%) of the issued
                 and outstanding membership units of Kognetics LLC effective January 1, 2020, which
                 amount is subject to dilution as a result of issuances of membership units by Purchaser
                 after the date hereof as further described in Section 1.09(b);

                          (ii)    if Collected Revenue for calendar year 2020 exceeds $12,000,000 then
                  Seller shall be issued additional Class B Units equal to four percent (4%) of the issued
                  and outstanding membership units of Kognetics LLC effective January 1, 2021, which
                  amount is subject to dilution as a result of issuances of membership units by Purchaser
                  after the date hereof as further described in Section 1.09(b);

                          (iii)   if Collected Revenue for calendar year 2021 exceeds $20,000,000 then
                  Seller shall be issued additional Class B Units equal to four percent (4%) of the issued
                  and outstanding membership units of Kognetics LLC effective January 1, 2022, which
                  amount is subject to dilution as a result of issuances of membership units by Purchaser
                  after the date hereof as further described in Section 1.09(b); and

                          (iv)    if Collected Revenue for calendar year 2022 exceeds $31,000,000 then
                  Seller shall be issued additional Class B Units equal to four percent (4%) of the issued
                  and outstanding membership units of Kognetics LLC effective January 1, 2023, which
                  amount is subject to dilution as a result of issuances of membership units by Purchaser
                  after the date hereof as further described in Section 1.09(b).

                   (b)     The Class B Units issued to Seller shall, from time to time, be reduced by any
           issuance of membership units Purchaser to a third party. An example of the dilution is as
           follows, if in calendar year 2019, Purchaser issues twenty percent (20%) of its membership units
           to a third party investor, such twenty percent (20%) shall (i) dilute the existing Seller's Class B
           Units to sixteen percent (16%) and (ii) the four percent (4%) referenced in Section 1.09(a)(i)-(iv)
           shall be reduced to three point two percent (3.2%).

                   (e)     Should Purchaser or Kognetics LLC be sold prior to 2023 ("Early Sale"), the
           Collected Revenue of Kognetics LLC, calculated based on the Kognetics LLC's trailing twelve
           (12) months of Collected Revenue ("Trailing Revenue"), shall determine the Seller's, as of the
           date of the Early Sale. For an avoidance of doubt, if the Kognetics LLC is sold in 2020, but the

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         Kognetics LLC's Trailing Revenue exceeds $20,000,000 as of date of the sale, the Seller's Class
         B Units shall, subject to dilution in Section 1.09(a), be equal to thirty-two percent (32%) of
         Purchaser, as though the grants in Section 1.09(a)(i)-(iii) had occurred.

                 Section 1.10. Stratesphere Funding Requirements.

                  (a)     Stratesphere shall make capital contributions to Purchaser or secure new customer
          contracts for Purchaser during the twelve (12) months after Closing in the amount of $1,000,000
          less the Pre-Closing Funded Amounts, as hereinafter defined. During the twelve (12) month
          period, seventy-five (75%) of the accrued revenue derived from new customer contracts secured
          by Stratesphere shall be applied against the $1,000,000 less the Pre-Closing Funded Amounts to
          be contributed by Stratesphere to Purchaser. The capital contributions shall be made in twelve
          (12) relatively equal monthly installments.

                  (b)    Stratesphere shall assist and support Purchaser in raising equity and/or debt
          capital of up to $20,000,000 during the five (5) years after Closing as per the current business
          plan. This capital requirement may change based on revision to the business plan.

                  Section 1.11. Stratesphere's Option. For a period of five (5) years after the Closing,
          Stratesphere shall have the option to pay an additional $1,250,000 (the "Option Price"), which
          payment (i) shall be paid the Seller, and (ii) shall decrease the percentage of Seller's Class B
          Units, based upon the fair market value of Purchaser.

                                                   ARTICLE II.
                                                    CLOSING

                 Section 2.01. Closing Date. The closing of the transactions contemplated by this
          Agreement (the "Closing") shall take place at the offices of Ice Miller LLP, at 250 West Street,
          Columbus, Ohio 43215, on August 22, 2018 unless Purchaser and Seller mutually agree
          otherwise (the "Closing Date"). Subject to the provisions of Article VIII, failure to consummate
          the transactions contemplated by this Agreement on the date and time and at the place
          determined pursuant to this Section 2.01 shall not result in the termination of this Agreement and
          shall not relieve any party of any obligation under this Agreement. In such a situation, the
          Closing shall occur as soon as practicable, subject to Article VIII. The parties hereto
          acknowledge and agree that all proceedings to be taken and all documents to be executed and
          delivered by all parties at the Closing shall be deemed to have been taken and executed
          simultaneously, and no proceedings shall be deemed taken nor any documents executed or
          delivered until all have been taken, executed and delivered.

                  Section 2.02. Deliveries by Seller. At the Closing, Seller shall deliver possession of all
          of the Assets to Purchaser, and Seller shall deliver (or cause to be delivered) to Purchaser
          originals or copies, if specified, of the following:

                 (a)    a counterpart of the Bill of Sale transferring all of the Assets to Purchaser, in the
          form attached hereto as Exhibit A (the "Bill of Sale"), duly executed by Seller;

                 (b)     a counterpart of the Assignment and Assumption Agreement for Seller to assign
           and Purchaser and/or Purchaser to assume the Assumed Liabilities and the Assigned Contracts,

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          by and between Purchaser and Seller, in the form attached hereto as Exhibit B (the "Assignment
          and Assumption Agreement"), duly executed by Seller;

                  (c)    counterparts of (i) the Trademark Assignment, for Seller to transfer and assign to
          Purchaser all Intellectual Property Assets and Proprietary Intellectual Property Assets described
          therein, by and between Purchaser and Seller, in the form attached hereto as Exhibit C (the
          "Trademark Assignment"), duly executed by Seller and (ii) the Copyright Assignment, for Seller
          to transfer and assign to Purchaser all Intellectual Property Assets and Proprietary Intellectual
          Property Assets described therein, by and between Purchaser and Seller, in the form attached
          hereto as Exhibit D (the "Copyright Assignment"), duly executed by Seller;

                 (d)     counterparts of all agreements, documents and instruments required to be
          delivered by Seller pursuant to any of the Related Agreements, executed by Seller;

                 (e)    copies of each consent, waiver, authorization and approval required pursuant to
          Section 3.02(g) hereof or necessary for the assignment of the Assigned Contracts to Purchaser as
          contemplated by Section 1.06;

                 (f)      a Certificate of Existence of Seller issued by the Secretary of State of the State of
          formation of Seller, dated within ten (10) calendar days of the Closing, which shall be included
          with the certificate set forth in Section 2.02(h);

                  (g)    a certificate, dated the Closing Date, duly executed by the CEO of Seller pursuant
          to Section 3.02(a) of this Agreement;

                  (h)     a certificate, dated as of the Closing Date, duly executed by an officer of Seller
          certifying (i) true, correct and complete copies of the resolutions of the Board of Directors of
          Seller authorizing the transactions described in this Agreement and the Related Agreements, (ii)
          a true, correct and complete copy of the Articles of Incorporation, or similar documentation of
          Seller, in effect as of the Closing Date, (iii) a true, correct and complete copy of the Bylaws or
          similar Governing Document of Seller in effect as of the Closing Date, (iv) a true and correct list
          of the Shareholders of Seller as of the Closing Date, and (v) a correct list of all the officers of
          Seller as of the Closing Date;

                         evidence of the releases of all Encumbrances on the Assets, each in form and
          substance reasonably satisfactory to Purchaser;

                  0)     an opinion of Counsel for Seller, that all actions required to be taken by it to
          transfer the Software, Intellectual Property Assets and Proprietary Intellectual Property Assets
          have been taken;

                  (k)     a disclaimer (the "Disclaimer Instrument") executed and delivered by the Pythhos
          Affiliates in the form reasonably acceptable to Purchaser but generally providing that it does not
          have any interest whatsoever in the Software, the Intellectual Property Assets and the Propriety
          Property Assets, and the extent it does, any such interest is assigned to Purchaser;

                  (1)    a signed contract in form acceptable to purchaser pursuant to which any Pythhos
          Affiliate which currently provides services to Seller, agrees to provide such services to HoldCo;

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                  (m)    such other documents as Purchaser may reasonably request for the purpose of
          otherwise facilitating the consummation or performance of any of the transactions contemplated
          by this Agreement or any of the Related Agreements; and

                (n)     Inder and Rajeev shall execute employment agreements with Purchaser, in the
          form mutually acceptable to Purchaser.

                  Section 2.03. Deliveries by Purchaser. Subject to fulfillment or waiver of the
          conditions set forth in Section 3.02, at the Closing, Purchaser shall deliver (or cause to be
          delivered) to the respective member of the Seller Group originals, or copies if specified, of the
          following agreements, documents and other items:

                  (a)    to Seller Class A units of Stratesphere representing ten percent (10%) of the
          issued and outstanding membership Units in Stratesphere;

                 (b)      to Seller the 125,000 Class B Units;

                (c)       a counterpart of the Assignment and Assumption Agreement, duly executed by
          Purchaser;

                   (d)    counterparts of (i) the Trademark Assignment, duly executed by Purchaser and
          (ii) the Copyright Assignment, duly executed by Purchaser;

                 (e)    counterparts of all agreements, documents and instruments required to be
          delivered by Purchaser pursuant to any of the Related Agreements, duly executed by Purchaser;

                         copies of each consent, waiver, authorization and approval required pursuant to
          Section 3.01(e) of this Agreement;

                  (g)     RESERVED; and

                 (h)     a certificate, dated the Closing Date, duly executed by the Manager of Purchaser
          pursuant to Section 3.01 of this Agreement.

                                         ARTICLE III.
               CONDITIO NS PRECEDE NT TO THE CLOSING OBLIGATIONS OF SELLERS,
                  STRATESPHERE   AND  PURCHAS ER AND POST-CLOSING ITEMS

                  Section 3.01. Conditions Precedent to Obligations of Seller. The obligations of the
          Seller Group to consummate the transactions contemplated by this Agreement are subject to the
          fulfillment, at or prior to the Closing, of the following conditions, any one or more of which may
          be waived in writing by Seller (in its sole and absolute discretion):

                   (a)    Representations and Warranties of Purchaser. All representations and warranties
           made by Purchaser (considered collectively and individually) in this Agreement shall be true and
           correct in all material respects on and as of the Closing Date as if made by Purchaser on such
           date (except for those representations and warranties which refer to facts existing at a specific


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          date, which shall be true and correct as of such date), and Seller shall have received a certificate
          to that effect from Purchaser dated as of the Closing Date.

                  (b)    Performance of the Obligations of Purchaser. Purchaser shall have performed,
          complied with or fulfilled in all material respects all of the covenants, agreements, obligations
          and conditions required under this Agreement and each of the Related Agreements to which it is
          a party to be performed, complied with or fulfilled by Purchaser on or prior to the Closing Date,
          and Seller shall have received a certificate to that effect from Purchaser dated as of the Closing
          Date.

                  (c)     Legal Proceedings. Neither Purchaser nor Seller shall be subject to any
          injunction, preliminary restraining order or other similar decree of a court of competent
          jurisdiction prohibiting the consummation of the transactions contemplated by this Agreement or
          any of the Related Agreements.

                  (d)    No Violation of Orders. There shall not be any preliminary or permanent
          injunction or other order issued by any Governmental Entity that declares this Agreement or any
          of the Related Agreements invalid or unenforceable in any respect or prevents or attempts to
          prevent the consummation of the transactions contemplated hereby or thereby.

                  (e)    Required Approvals. All consents and approvals of any Governmental Entity, or
          any Person necessary to permit the consummation of the transactions contemplated by this
          Agreement or any of the Related Agreements (including the Material Consents, each of which is
          listed on the Required Approvals Schedule for Purchaser), shall have been received.

                   Section 3.02. Conditions Precedent to Obligations of StratesDhere and Purchaser.
          The obligation of Stratesphere and Purchaser to consummate the transactions contemplated by
          this Agreement is subject to the fulfillment, at or prior to the Closing, of the following
          conditions, any one or more of which may be waived in writing by Stratesphere and/or Purchaser
          (in its sole and absolute discretion):

                  (a)    Representations and Warranties of Seller. All representations and warranties
          made by the Seller Group in this Agreement (considered collectively and individually) shall be
          true and correct in all material respects on and as of the Closing Date as if made by the Seller
          Group on and as of such date (except for those representations and warranties which refer to
          facts existing at a specific date, which shall be true and correct as of such date), after giving
          effect to any Disclosure Schedule Updates, and Purchaser shall have received a certificate to that
          effect from the Seller Group dated as of the Closing Date.

                  (b)     Performance of the Obligations of Seller. Seller shall have performed, complied
          with or fulfilled in all material respects all covenants, agreements, obligations and conditions
          (considered collectively and individually) required by this Agreement and each of the Related
          Agreements to which it is a party to be performed, complied with or fulfilled by Seller on or
          prior to the Closing Date, and Purchaser shall have received a certificate to that effect from
          Seller dated as of the Closing Date.

                  (c)    Legal Proceedings. Seller shall not be subject to any injunction, preliminary
          restraining order or other similar decree of a court of competent jurisdiction prohibiting the

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         consummation of the transactions contemplated by this Agreement or any of the Related
         Agreements. Since the date of this Agreement, there shall not have been commenced or to the
         Knowledge of Seller threatened, against any Seller, or against any Related Person of Seller, any
         Proceeding (i) involving any challenge to, or seeking damages or other relief in connection with,
         any of the transactions contemplated by this Agreement, or (ii) that may have the effect of
         preventing, delaying, making illegal, imposing limitations or conditions on or otherwise
         interfering with any of the transactions contemplated by this Agreement.

                 (d)     No Violation of Orders. There shall be no preliminary or permanent injunction or
          other order issued by any Governmental Entity which declares this Agreement or any of the
          Related Agreements invalid or unenforceable in any respect or prevents or attempts to prevent
          the consummation of the transactions contemplated hereby or thereby.

                (e)   Related Agreements. The applicable Persons shall have entered into the Related
          Agreements.

                    (f)   Material Adverse Effect. There shall not have occurred any Material Adverse
          Effect.

                    (g)  Required Approvals. All consents and approvals of any Governmental Entity or
          any Person necessary to permit the consummation of the transactions contemplated by this
          Agreement or any of the Related Agreements (including the Material Consents, each of which is
          listed on the Required Approvals Schedule for Seller), shall have been received.

                  Section 3.03. Post-Closing Items. The Seller Group hereby agrees to complete the
          post-closing items listed on the attached Schedule 3.03, by the date specified next to each item
          on Schedule 3.03.

                                            ARTICLE IV.
                            REPRESE NTATION S AND WARRANTIES OF SELLER

                 Each member of the Seller Group, jointly and severally, hereby represent and warrant to
          Purchaser, subject to such exceptions as may be specifically disclosed in the Schedules to this
          Agreement delivered by Seller concurrently with the execution of this Agreement, dated as of the
          date hereof (the "Disclosure Schedules"), on the date hereof and on the Closing Date, as follows:

                  Section 4.01. Organization. Seller is a corporation duly organized and validly existing
          under the Laws of the State of Delaware, all reports required to be filed with the Delaware
          Secretary of State have been filed; no articles of dissolution have been filed with the Delaware
          Secretary of State, and has all requisite corporate power and authority to own its properties and
          assets and to conduct the Business and its other business as it is now conducted.

                  Section 4.02. Authorization and Validity of Agreement. Seller has the corporate
          power and corporate authority to enter into, execute and deliver this Agreement, to consummate
          the transactions contemplated by this Agreement, to perform all of its obligations under this
          Agreement and to comply with and fulfill the terms and conditions of this Agreement. This
          Agreement has been duly executed and delivered by Seller and constitutes Seller's legal, valid
          and binding obligation, as applicable, enforceable against Seller, in accordance with its terms and

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          conditions, except as enforceability may be limited by applicable bankruptcy, insolvency,
          reorganization, moratorium or similar laws affecting the enforcement of creditor's rights
          generally or by general principles of equity.




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                  Section 4.03. No Conflict or Violation.

                 (a)     The execution, delivery and performance of this Agreement and each of the
          Related Agreements does not and shall not violate or conflict with any provision of the articles of
          incorporation, bylaws or other Governing Documents of Seller.

                   (b)     Performance of this Agreement and each of the Related Agreements does not and
          shall not: (i) violate any provision of Law applicable to Seller, the Business or the Software; or
          (ii) violate or result in a breach of or constitute (with or without due notice or lapse of time or
          both) a default under any Contract, consent order or other instrument or obligation to which
          Seller is a party, or by which Seller's assets or properties relating to the Business may be bound,
          except for such violations, breaches, or defaults which would not have a Material Adverse
          Effect.

                  Section 4.04. Financial Statements. Attached hereto as Schedule 4.04 are copies of the
          financial information of Seller relating to the Business which have been provided to Purchaser
          prior to the date of this Agreement (collectively, the "Financial Statements"). The Financial
          Statements have been prepared from the books and records of Seller in accordance with
          generally accepted accounting principles consistently followed throughout the periods (except as
          set forth in notes or statements to the Financial Statements), and they fairly present, in all
          material respects, the information contained therein and are true, correct and complete in all
          material respects. There has not been any change between the date of the most recent Financial
          Statements and the date of this Agreement that has materially or adversely affected the Business
          or the Assets or condition or prospects, financial or other, or results of operations of the
          Business, and, no fact or condition exists or, to the Knowledge of Seller, is contemplated or
          threatened, which might cause any such change at any time in the future.

                 Section 4.05. Tax Matters. With respect to the Business:

                  Seller has filed or caused to be filed on a timely basis all Tax Returns with respect to
          Taxes that are or were required to be' filed, except where the failure to file Tax Returns would not
          have a Material Adverse Effect. Seller has paid, or made provision for the payment of, all Taxes
          shown to be due thereon, except such Taxes as are set forth on Schedule 4.05 or which are not
          yet delinquent or are being contested in good faith. Except as set forth on Schedule 4.05, Seller
          currently is not the beneficiary of any extension of time within which to file any Tax Return. To
          Seller's Knowledge, no claim has ever been made by any Governmental Entity in a jurisdiction
          where Seller does not file Tax Returns that it is or may be subject to taxation by that jurisdiction.
          Seller is not a "foreign person" within the meaning of Section 1445(f)(3) of the Code.

                  Section 4.06. Intellectual Property.

                  (a)     Schedule 1.01(c) sets forth a true and complete list of all of the patents, patent
          applications, and patent disclosures, together with all reissuances, continuations, continuations-
          in-part, revisions, extensions, and reexaminations thereof, registered trademarks, trademark
          applications, registered copyrights and copyright applications, and all applications, registrations,
          and renewals in connection therewith, used in, necessary for or relating to the Business as
          presently conducted, owned by Seller (the foregoing, together with all rights related thereto and


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          arising therefrom, including all goodwill related thereto and the right to sue for past
          infringement, and all copies and tangible embodiments thereof (in whatever form or medium)),
          which are collectively referred to in this Agreement as the "Intellectual Property Assets". To the
          extent indicated in Schedule 1.01(c), the Intellectual Property Assets have been duly registered in
          such offices as are indicated therein. Seller is the sole and exclusive owner free and clear of all
          Encumbrances of the Intellectual Property Assets.

                  (b)     The term "Proprietary Intellectual Property Assets" means and refers to all trade
          secrets and confidential business information (including all specifications or formulae,
          algorithms, ideas, research and development, know-how, compositions, technical data, methods
          of processing or analyzing data, designs, drawings, specifications, customer and supplier lists,
          pricing and cost information, and business and marketing plans and proposals), trademarks for
          which application for registration has not been made, copyrightable works and copyrights for
          which application for registration has not been made, domain names, and trade dress,
          unregistered logos, and trade names used in, necessary for, or relating to the Business as
          presently conducted, and all rights related thereto and arising therefrom (including all goodwill
          related thereto and the right to sue for past infringement) and all copies and tangible
          embodiments thereof (in whatever form or medium), including without limitation those
          specifically set forth in Schedule 1.01(c). Seller is the sole and exclusive owner free and clear of
          all Encumbrances of (a) all Proprietary Intellectual Property Assets set forth on Schedule 1.01(c)
          and, (b) to the Knowledge of Seller, all other Proprietary Intellectual Property Assets.

                  (c)      With respect to all Intellectual Property Assets or Proprietary Intellectual Property
          Assets (each an "IP Item" and together the "IP Items"), (i) Seller has by operation of law or by
          securing all necessary assignments, work-for-hire agreements, or other agreements or consents,
          obtained title to such IP Items from any other prior owner (including without limitation any title
          arising in connection with any work product ("Work Product") created by any employee,
          consultant, or independent contractor engaged by Seller, or by any other prior owner to develop
          or create any such IP Items, or any part thereof) such that rights, title, and interests in and to such
          IP Items and all Work Product related thereto rest solely with Seller and not in whole or in part
          in any such employee, consultant, independent contractor, third party, or former owner; (ii)
          Seller has taken reasonable precautions to maintain the secrecy of all trade secrets that are the
          subject of this Agreement and have no Knowledge of any breach of such secrecy; (iii) to Seller's
          Knowledge, no IP Item is the subject of any outstanding injunction, judgment, order, decree,
          ruling, or charge; and (iv) no action, suit, Proceeding, hearing, investigation, charge, complaint,
          claim, or demand is pending, or, to the Knowledge of Seller, is threatened that challenges the
          legality, validity, enforceability, use, or ownership of any IP Item.

                  (d)     No Seller has interfered with, infringed upon, misappropriated, or violated any
          intellectual property rights of any third party in any material respect. No Seller has received any
          charge, complaint, claim, demand, or notice alleging any such interference, infringement,
          misappropriation, or violation (including any claim that a Seller must license or refrain from
          using any intellectual property rights of any third party). To the Knowledge of Seller, no third
          party has interfered with, infringed upon, misappropriated, or violated any intellectual property
          rights of Seller in the Business in any material respect.



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                  (e)    Attached as Schedule 4.06(e), sets forth the name and employer of any individual
          who has created, contributed to, or edited any portion the Software. Except for the individuals
          listed on Schedule 4.06(e), no individual has created, contributed to, edited, or otherwise worked
          on the Software.

                 (f)     The Seller's rights, title, and interest in the Intellectual Property Assets and the
          Proprietary Intellectual Property Assets are valid, subsisting, and enforceable by Seller in all
          applicable jurisdictions, and are not subject to any pending or threatened challenge or claim to
          the contrary.

                  (g)     The registration, ownership, and exercise of the Seller's rights in the Intellectual
          Property Assets and the Proprietary Intellectual Property Assets did not, and when exercised by
          Purchaser will not, infringe or otherwise violate the intellectual property or other rights of any
          third party or violate any applicable regulation or law. No person or entity has infringed or
          otherwise violated, or is currently infringing or otherwise violating, any rights in, to, or related to
          the Intellectual Property Assets or Proprietary Intellectual Property Assets.

                 (h)      Seller has provided Purchaser with true and complete copies of all Licenses and
          Permits (or in the case of any oral agreements, a complete and accurate written description
          thereof), including all modifications, amendments, and supplements thereto and waivers
          thereunder. Each License and Permit is valid, binding, and enforceable between Seller and the
          other parties thereto; and neither Seller nor any other party thereto is in breach of or default
          under (or is alleged to be in breach or default under) any License or Permit, or has provided or
          received any notice of breach, default of, or any actual or intended termination of any License or
          Permit.

                  (i)    Seller has taken all reasonable steps to preserve the confidentiality of the
          Confidential Information, including requiring all Persons having access thereto to execute
          written non-disclosure agreements. Except for Purchaser and certain employees and contractors
          of Seller who are bound by enforceable obligations prohibiting their use or disclosure of the
          Confidential Information other than for the benefit of Seller, no Confidential Information has
          been disclosed to any Person and there has been no security breach relating to, no violation of
          any security policy regarding, and no unauthorized access to, any of the Confidential
          Information. Seller has no duty or obligation to deliver, license, or make available any of the
          Confidential Information to any escrow agent or other Person, other than the Purchaser pursuant
          to this Agreement. Without limiting the foregoing, Seller has neither themselves, nor caused,
          authorized, or permitted any other Person to have, licensed, distributed, or disclosed, and knows
          of no licensing, distribution, or disclosure of, any Source Code to any third party, and Seller has
          taken commercially reasonable physical and electronic security measures to prevent disclosure of
          any Source Code. No (i) consummation of the transactions contemplated hereby, (ii) event that
          has occurred, or (iii) circumstance or condition that exists, will (with or without notice or lapse
          of time, or both), or would reasonably be expected to, result in the disclosure or release of any
          Source Code to any third party.

                  (j)      Seller shall have provided to Purchaser, on or before the Closing Date, a written,
           absolute, irrevocable waiver in favor of Purchaser from each individual who is an author (sole or
           joint) of any of the works of authorship comprising or comprised by the Software or

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          Documentation, in relation to all rights of paternity, integrity, disclosure, and withdrawal and any
          other rights that may be known as "moral rights" (collectively, "Moral Rights") vested in such
          author in relation to the Software or Documentation. Without limiting the foregoing, to the
          extent that any Moral Rights are vested in Seller as authors (sole or joint) of any of the Software
          or Documentation, Seller hereby absolutely and irrevocably waive in favor of Purchaser to the
          extent permitted by applicable Law, any and all claims Seller may now or hereafter have in any
          jurisdiction to any and all such Moral Rights.

                 (k)     Seller further represent and warrant to Purchaser that as of the Closing Date:

                        (i)      the Software is fully operable, meets all applicable specifications, and
                 functions in all material respects, in conformity with the Documentation;

                         (ii)   the Documentation is complete and accurate in all material respects such
                 that the Software does not have any material undocumented feature;

                        (iii)   all media on which the Software or Documentation is delivered to
                 Purchaser are free of any damage or defect in design, material, or workmanship, and will
                 remain so under ordinary use as contemplated by (I) this Agreement and, with respect to
                 the Software, (II) the Documentation;

                         (iv)   the Software contains no harmful or malicious code, including any: (I)
                 virus, Trojan horse, worm, backdoor, or other software or hardware devices the effect of
                 which is to permit unauthorized access to, or to disable, erase, or otherwise harm, any
                 computer, systems, or software; or (H) time bomb, drop dead device, or other software or
                 hardware device designed to disable a computer program automatically with the passage
                 of time or under the positive control of any Person, or otherwise prevent, restrict, or
                 impede any use of such program;

                          (v)   the Software was not developed using, has not been distributed with, and
                  does not contain or operate in such a way that it is compiled with or linked to, any Open
                  Source Components, other than the Open Source Components and corresponding
                  controlling Open Source Licenses specifically described in Schedule 4.06;

                          (vi)    no Software or Documentation contains anything that is unlawful,
                  obscene, libelous, defamatory, or indecent or that infringes, misappropriates, or otherwise
                  violates the rights of any Person; and

                         (vii) no Software or Documentation or related technology or technical data (or
                  any products that include or use any of the foregoing) constitutes or contains any
                  Controlled Technology.

                 Section 4.07. Licenses and Permits. Seller has obtained and maintained in full force
          and effect all material Licenses and Permits required to operate the Business as presently
          conducted in the Ordinary Course of Business. The consummation of the transactions
          contemplated hereby shall not give any Governmental Entity the right to terminate any of the
          material Licenses and Permits or the conduct of the Business, except for such terminations which
          would not have a Material Adverse Effect. Seller is in compliance in all material respects with

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          all terms, conditions and requirements of all material Licenses and Permits and no Proceeding is
          pending or, to the Knowledge of Seller, threatened relating to the revocation or limitation of any
          of the material Licenses or Permits.

                 Section 4.08. Contracts and Commitments. Schedule 4.08 contains a list of all of the
          following Contracts (collectively, the "Material Contracts"):

                  (a)     Contracts relating to any joint venture, partnership, strategic alliance or sharing of
          profits or losses with any Person to which Seller is a party relating to the Business or by any of
          the Assets is bound; and

                 (b)    Customer, distributor, marketing and sales representative agreements relating to
          the Business.

                  All of the Material Contracts are in full force and effect in all material respects. Except
          as set forth on Schedule 4.08, no Seller, nor to the Knowledge of any Seller, any other party
          thereto, has breached any material provision of, or is in material default under the terms of, nor
          to the Knowledge of any Seller, does any condition exist which, with or without notice or lapse
          of time, or both, would cause a Seller or any other party to be in material default under any of the
          Material Contracts. Except as set forth on Schedule 4.08, the consummation of the transactions
          contemplated by this Agreement shall not afford any other party the right to terminate any such
          Material Contract.

                  Section 4.09. Compliance with Law. Seller and the Business are in compliance in all
          material respects with all applicable Laws. Seller is not in material default with respect to any
          order, writ, judgment, award, injunction or decree of any Governmental Entity or arbitrator
          applicable to it or the Business or any of the Assets. No Seller has received, any written notice
          from any Governmental Entity or any other Person regarding any actual, alleged, possible or
          potential violation of, or failure to comply with, any term or requirement of any order to which
          any Seller or any of the Assets is or has been subject.

                  Section 4.10. Litigation.      (a) There are no investigations, inquiries, audits or
          Proceedings pending or, to the Knowledge of any Seller, threatened against or affecting the
          Assets, (b) there are no unsatisfied judgments of any kind against the Assets, and (c) no Seller is
          subject to any judgment, order, decree, rule or regulation of any court or Governmental Entity
          that has had or could reasonably be expected to have a Material Adverse Effect.

                 Section 4.11. Title to the Assets. Seller has good and marketable title to, and are the
          sole and exclusive owner of, all of the Assets, free and clear of all Encumbrances.

                  Section 4.12. Customers. Schedule 4.12 lists (i) the names and addresses of each of the
          customers of the Business for the trailing twelve-month period ended May 31, 2018, and (ii) the
          amount for which each such customer was invoiced during such periods. None of the customers
          listed on Schedule 4.12 has indicated, in writing, and no Seller has Knowledge, that any such
          customer will stop, or materially decrease the rate of, doing business with the Seller.

                Section 4.13. Broker's and Finder's Fees. No broker, finder or other Person is entitled
          to any commission or finder's fee in connection with this Agreement or the transactions

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          contemplated by this Agreement as a result of any actions or commitments of Seller (or its
          Affiliates).

                 Section 4.14. Transfer Taxes. There are no sales, use, transfer or similar Taxes
          imposed by any state law in connection with the transactions contemplated by this Agreement,
          and in the event of any such Taxes, Seller shall pay all such Taxes when due directly to the
          applicable taxing authority.

                  Section 4.15. Material Information. Neither the Financial Statements nor this
          Agreement (including the Schedules and Exhibits hereto) nor any certificate or other information
          or document furnished or to be furnished by Seller to Purchaser contains or will contain any
          untrue statement of a material fact nor to the Knowledge of Seller (or its advisors, agents,
          consultants or representatives) omits or will omit to state a material fact required to be stated
          herein or therein or necessary to make the statements herein or therein not misleading.

                  Section 4.16. Approvals and Consents. The execution, delivery and performance of
          this Agreement and each of the Related Agreements to which it is a party by Seller do not require
          Seller to obtain the consent or approval of, or to make any filing with, any Governmental Entity
          or any other Person except (a) as may be required to transfer any Licenses or Permits, (b) as may
          be required of any Seller's lenders, and (c) such consents, approvals and filings, the failure to
          obtain or make which would not, individually or in the aggregate, have a Material Adverse
          Effect on Purchaser or on the ability of a Seller to perform their obligations hereunder.

                 Section 4.17. Ordinary Course of Business. Seller has operated the Business in the
          Ordinary Course of Business.

                                          ARTICLE V.
                         REPRESENTATIONS AND WARRANTIES OF PURCHASER

                 Purchaser hereby represents and warrants to the Seller as follows:

                  Section 5.01. Organization; Power. Purchaser is a limited liability company duly
          organized, validly existing, and in good standing under the Laws of the State of Ohio and has all
          requisite corporate power and authority to own its properties and assets and to conduct its
          business as it is now conducted.

                 Section 5.02. Authorization and Validity of Agreement. Purchaser has all requisite
          organization power and authority to enter into this Agreement and each of the Related
          Agreements to which it is a party and to perform its obligations hereunder and thereunder. The
          execution and delivery of this Agreement and each of the Related Agreements to which it is a
          party and the performance of the obligations of Purchaser hereunder and thereunder have been
          duly authorized by all necessary corporate action of Purchaser, and no other corporate
          proceedings on the part of Purchaser are necessary to authorize the execution, delivery or
          performance of this Agreement and each of the Related Agreements to which it is a party. This
          Agreement and each of the Related Agreements to which it is a party has been duly executed by
          Purchaser and constitutes Purchaser's valid and binding obligation, enforceable against
          Purchaser in accordance with their respective terms, except as enforceability may be limited by


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          applicable bankruptcy, insolvency, reorganization, moratorium or similar laws affecting the
          enforcement of creditor's rights generally or by general principles of equity.

                  Section 5.03. No Conflict or Violation. The execution, delivery and performance of
          this Agreement and each of the Related Agreements to which it is a party by Purchaser do not
          and shall not (a) violate or conflict with any provision of its articles of organization, operating
          agreement or other Governing Documents of Purchaser, (b) violate any applicable provision of
          Law applicable to Purchaser or its business or (c) violate or result in a breach of, or constitute
          (with due notice or lapse of time or both) a default under, any Contract to which Purchaser is a
          party or by which it is bound or to which any of its properties or assets is subject, except for such
          violations, breaches, or defaults which would not have a Material Adverse Effect.

                  Section 5.04. Approvals and Consents. The execution, delivery and performance of
          this Agreement and each of the Related Agreements to which it is a party by Purchaser do not
          require Purchaser to obtain the consent or approval of, or to make any filing with, any
          Governmental Entity or any other Person except (a) as may be required to obtain the transfer of
          any Licenses or Permits, and (b) such consents, approvals and filings, the failure to obtain or
          make which would not, individually or in the aggregate, have a Material Adverse Effect on
          Seller or on the ability of Purchaser to perform its obligations hereunder.

                  Section 5.05. Broker's and Finder's Fees. No broker, finder or other Person is entitled
          to any commission or finder's fee in connection with this Agreement or the transactions
          contemplated by this Agreement as a result of any actions or commitments of Purchaser or its
          Affiliates.

                                                 ARTICLE VI.
                                           PRE-CLOSING COVENANTS

                 Except as otherwise required or permitted hereunder, Purchaser and Seller covenant and
          agree to comply with each of the following provisions, as applicable to it, between the date
          hereof and the Closing Date, unless the applicable party obtains the prior written waiver of the
          other party (which consent shall not be unreasonably withheld, conditioned or delayed).

                  Section 6.01. No Transfer of the Assets. Seller shall not, and shall not enter into any
          agreement, arrangement, commitment or understanding to, sell, lease, license, transfer, assign,
          convey, pledge or otherwise dispose of or grant any security interest in any of the Assets, except
          in the Ordinary Course of Business.

                  Section 6.02. Operation of Business. Seller shall continue to conduct the business
          affairs of Seller in the Ordinary Course of Business between the date of this Agreement and the
          Closing Date.

                  Section 6.03. Access; Cooperation.       Seller shall (a) provide Purchaser and its
          Personnel, accountants, legal counsel and representatives (collectively, the "Purchaser Group"),
          the right, upon reasonable advance written notice, to access during normal business hours, its
          records, and (b) furnish to Purchaser such additional information concerning Seller as shall be
          reasonably requested.


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                Section 6.04. Notification of Certain Matters. Seller shall give prompt written notice
         to Purchaser of

                (a)     the occurrence, or failure to occur, of any event which occurrence or failure
         would be likely to cause any representation or warranty of Seller contained in this Agreement to
         be untrue or inaccurate in any material respect at any time from the date hereof to the Closing
         Date; and

                (b)     any failure of Seller to comply with or satisfy in any material respect any
          covenant, condition or agreement to be complied with or satisfied by Seller hereunder.

                  Section 6.05. Updates to Disclosure Schedules. Seller shall deliver to Purchaser, as
          soon as possible after discovery and in any event within two (2) Business Days after discovery
          and one (1) Business Day prior to the Closing Date, written notice of supplemental information
          (other than historical financial statements of Seller) updating the information set forth in the
          representations and warranties of Seller set forth in Article IV of this Agreement (the "Disclosure
          Schedule Updates"). If such Disclosure Schedule Updates reflect an occurrence which, on a
          cumulative basis as to all occurrences in other such supplemental information, in Purchaser's
          discretion could reasonably be expected to have a Material Adverse Effect or has or could
          reasonably be expected to adversely affect the ability of Seller to convey any material portion of
          the Assets to Purchaser pursuant to this Agreement, Purchaser shall have the right to terminate
          this Agreement pursuant to and in accordance with Section 8.01(c) of this Agreement by
          delivering a written notice of such termination to Seller prior to the Closing in accordance with
          Section 8.01(c).

                  Section 6.06. Cooperation. Purchaser and Seller shall each use its reasonable Best
          Efforts to cooperate with the other and the other's employees, attorneys, accountants and other
          agents and, generally, do such other acts and things in good faith as may be reasonable to timely
          effectuate the purposes of this Agreement and the consummation of the transactions
          contemplated hereby in accordance with the provisions of this Agreement. Each party also shall
          use its reasonable Best Efforts to cooperate, and cause its Related Persons to cooperate with the
          other (a) with respect to all filings Seller or Purchaser shall be required by applicable Law to
          make, and (b) in obtaining all consents set forth on the Required Approvals Schedule.

                 Section 6.07. Governmental Approvals.          Promptly after the execution of this
          Agreement, Purchaser shall file all applications and reports which are required to be filed by
          Purchaser with any Governmental Entity in connection with the transactions contemplated by
          this Agreement. Purchaser shall also promptly provide all information that any Governmental
          Entity may require in connection with any such application or report. Purchaser shall pay all
          fees and amounts in connection with such applications and reports.

                  Section 6.08. Additional Notices and Covenants. Purchaser shall give all notices to
          any Governmental Entities and other third parties and take such other action required to be given
          or taken by it in connection with the transactions contemplated by this Agreement.




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                                              ARTICLE VIT.
                                        INDEMNIFICATION; SURVIVAL

                   Section 7.01. Indemnification By Seller Group. Each member of the Seller Group
          shall, jointly and severally, indemnify and hold harmless Purchaser and its successors, members,
          managers, Personnel, representatives, Affiliates and agents (collectively, the "Purchaser
          Indemnified Parties") from and against any and all damages, losses, obligations, Liabilities,
          claims, encumbrances, penalties, costs and expenses (including costs of investigation and
          defense and reasonable attorneys' fees and expenses), (each, an "Indemnity Loss"), directly or
          indirectly arising from or relating to:

                  (a)      the actual breach or nonperformance of any warranties, representations, covenants
          or agreements of the Seller Group in this Agreement or the Related Agreements or in any
          certificate or schedule hereto or in the Related Agreements;

                 (b)     any Liability of Seller relating to the Excluded Assets or the Excluded Liabilities;

                 (c)     any Liability of Seller or relating to the Assets, the Assumed Liabilities, or the
          operation of the Business arising out of the transactions entered into or events occurring before
          the Closing;

                  (d)    any Liability arising from a claim by a third Person for any tort or any breach or
          violation of any contractual, quasi contractual, legal, fiduciary, or equitable duty by the Seller
          Group, whether before, at, or after the Closing; and

                  (e)    any and all Proceedings, demands, assessments, audits or judgments arising out of
          any of the foregoing.

                  Section 7.02. Indemnification by Purchaser. Purchaser shall indemnify and hold
          harmless the Seller Group and their successors, shareholders, Personnel, representatives,
          Affiliates and agents (collectively, the "Seller Indemnified Parties") from and against any and all
          Indemnity Losses arising from or relating to:

                 (a)     the actual breach or nonperformance of any warranties, representations, covenants
          or agreements of Purchaser in this Agreement or in the Related Agreements or in any certificate
          or schedule hereto or to the Related Agreements;

                 (b)     any Assumed Liability;

                 (c)     any Liability of Purchaser or relating to the Assets, the Assumed Liabilities, or the
          operation of the Business arising out of the transactions entered into or events occurring after the
          Closing;

                  (d)    any Liability arising from a claim by a third Person for any tort or any breach or
          violation of any contractual, quasi contractual, legal, fiduciary, or equitable duty by Purchaser,
          whether before, at, or after the Closing; and



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                  (e)    any and all Proceedings, demands, assessments, audits or judgments arising out of
          any of the foregoing.

                  Section 7.03. Indemnification Notice; Litigation Notice. If a party entitled to
          indemnity pursuant to Section 7.01 or Section 7.02 (the "Claimant") believes that it has suffered
          or incurred any Indemnity Loss, it shall so notify the party which the Claimant believes has an
          obligation to indemnify (the "Indemnifying Party") promptly in writing describing such
          Indemnity Loss in reasonable detail, the amount thereof, if known, and the method of
          computation of such Indemnity Loss, all with reasonable particularity (the "Indemnification
          Notice"). If any action at Law, suit in equity, arbitration or administrative action is instituted by
          or against a third party with respect to which the Claimant intends to claim any Liability or
          expense as an Indemnity Loss under this Article VII, it shall promptly notify the Indemnifying
          Party in writing of such action, matter or suit describing such Indemnity Loss, the amount
          thereof, if known, and the method of computation of such Indemnity Loss, all with reasonable
          particularity (the "Litigation Notice") in lieu of an Indemnification Notice. To the extent failure
          to promptly notify the Indemnifying Party of such action or suit can reasonably be deemed to
          increase the Liability or expense to the Claimant, the Indemnifying Party shall not be obligated
          to reimburse Claimant for the amount of such increase in liability or expense.

                  Section 7.04. Defense of Third Person Claims. The Indemnifying Party shall have
          twenty (20) calendar days after receipt of the Litigation Notice to notify the Claimant that it
          acknowledges its obligation to indemnify and hold harmless the Claimant with respect to the
          Indemnity Loss set forth in the Litigation Notice and that it elects to conduct and control any
          legal or administrative action or suit with respect to an identifiable claim (the "Election Notice").
          If the Indemnifying Party gives a Disagreement Notice (as hereinafter defined) or does not give
          the foregoing Election Notice during such 20-day period, the Claimant shall have the right (hut
          not the obligation) to defend, contest, settle or compromise such Proceeding in the exercise of its
          reasonable discretion; provided, however, that the right of the Claimant to indemnification
          hereunder shall not be conclusively established thereby. If the Indemnifying Party timely gives
          the foregoing Election Notice and provides information satisfactory to the Claimant in its
          reasonable discretion confirming the Indemnifying Party's financial capacity to defend such
          Indemnity Loss and provide indemnification with respect to such Indemnity Loss, the
          Indemnifying Party shall have the right to undertake, conduct and control, through counsel
          reasonably satisfactory to the Claimant and at the Indemnifying Party's sole expense, the conduct
          and settlement of such action or suit, and the Claimant shall cooperate with the Indemnifying
          Party in connection therewith; provided, however, that (a) the Indemnifying Party shall not
          thereby consent to the imposition of any injunction against the Claimant without the prior written
          consent of the Claimant, (b) the Indemnifying Party shall permit the Claimant to participate in
          such conduct or settlement through legal counsel chosen by the Claimant, but the fees and
          expenses of such legal counsel shall be borne by the Claimant, except as provided in clause (c)
          below, (c) upon a final determination of such action or suit, the Indemnifying Party shall
          promptly reimburse the Claimant, to the extent required under this Article VII, for the full
          amount of any Indemnity Loss incurred by the Claimant, except fees and expenses of legal
          counsel that the Claimant incurred after the assumption of the conduct and control of such action
          or suit by the Indemnifying Party in good faith and (d) the Claimant shall have the right to pay or
          settle any such action or suit; provided, however, that in the event of such payment or settlement,


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          the Claimant shall waive any right to indemnity therefor by the Indemnifying Party and no
          amount in respect thereof shall be claimed as an Indemnity Loss under this Article VII.

                 Section 7.05. Disagreement Notice. If the Indemnifying Party does not agree that the
          Claimant is entitled to full reimbursement for the amount specified in the Indemnification Notice
          or the Litigation Notice, as the case may be, the Indemnifying Party shall notify the Claimant
          (the "Disagreement Notice") within twenty (20) calendar days of its receipt of the
          Indemnification Notice or the Litigation Notice, as the case may be.

                  Section 7.06. Payment of Losses. The Indemnifying Party shall pay to the Claimant in
          cash the amount to which the Claimant may become entitled by reason of the provisions of this
          Article VII within fifteen (15) Business Days after such amount is finally determined either by
          mutual agreement of the parties or, in the case of an Indemnity Loss described in any Litigation
          Notice, the date on which both such amount and Claimant's obligation to pay such amount have
          been determined by a final judgment of the trial court or administrative body having jurisdiction
          over such Proceeding. In the event that the Seller Group is obligated to indemnify Purchaser and
          is financially unable to do so, then the percentage of the membership interests issued to the Seller
          shall be reduced based upon the fair market value of Stratesphere at such time, determined in
          good faith by Stratesphere.

                  Section 7.07. Survival. Claims for indemnification shall only be valid to the extent that
          such claims are made within a period of eighteen (18) months from the Closing Date; provided,
          however, that the applicable statute of limitations period shall apply with respect to claims
          relating to Liabilities for Taxes and no limitations period shall apply with respect to claims
          relating to matters of title, including but not limited to Section 4.6 (Intellectual Property) and
          Section 4.11 (Title to Assets).

                  Section 7.08. Deemed Representations and Warranties. All statements contained in
          certificates and other instruments attached hereto or delivered or furnished on behalf of any party
          hereto shall be deemed representations and warranties of that party pursuant to this Agreement.

                   Section 7.09. Sole Remedy. The right to indemnification under this Article VII, subject
          to all of the terms, conditions and limitations hereof, shall constitute the sole and exclusive right
          and remedy available to any party hereto for any actual or threatened breach of this Agreement
          or any Related Agreement or for any violation of Laws in connection with the transactions
          provided for in this Agreement or any Related Agreement, and none of the parties hereto shall
          initiate or maintain any legal action at law or in equity against any other party hereto which is
          directly or indirectly related to any breach or threatened breach of this Agreement or any of the
          Related Agreements or for any violation of Laws in connection with the transactions provided
          for in this Agreement or any Related Agreement, except that Purchaser may pursue legal or
          equitable relief against Seller or the Seller Group (pursuant to Section 9.03) for a breach or
          violation of Section 9.01 or Section 9.02 of this Agreement.

                   Section 7.10. Tax Treatment of Indemnity Payments. To the maximum extent
          permitted by Law, it is the intention of the parties to treat any indemnity payment made under
          this Agreement as an adjustment to the Purchase Price for all Tax purposes, and the parties agree
          to file their Tax Returns accordingly.


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                                                 ARTICLE VIII.
                                                 TERMINATION

                 Section 8.01. Events of Termination. Notwithstanding anything in this Agreement to
         the contrary, this Agreement may be terminated at any time prior to completion of the Closing,
         as follows:

                (a)     by Seller if there has been a material misrepresentation or a material default or
         breach by Purchaser with respect to Purchaser's representations and warranties in Article V of
         this Agreement or the due and timely performance of any of the material covenants or
         agreements of Purchaser contained in this Agreement, and in the case of a material default or
         breach of a material covenant or agreement, such material default or material breach shall not
         have been cured (or reasonable efforts commenced to cure such breach or default if such breach
         or default cannot be cured within a 10-day period) within ten (10) calendar days after receipt by
         Purchaser of written notice specifying in reasonable detail the nature of such default or breach;

                  (h)    by Purchaser if there has been a material misrepresentation or a material default
          or breach by any Seller with respect to its representations and warranties in Article IV of this
          Agreement or the timely performance of any of the material covenants or agreements of any
          Seller contained in this Agreement, and in the case of a material default or breach of a material
          covenant or agreement, such material default or breach shall not have been cured within ten (10)
          calendar days (or reasonable efforts commenced to cure such breach or default that cannot be
          cured within a ten (10) day period) after receipt by Seller of written notice specifying in
          reasonable detail the nature of such default or breach;

                 (c)     by Purchaser if any information reflected in any Disclosure Schedule Update in
          Purchaser's discretion could reasonably be expected to have a Material Adverse Effect or has or
          could reasonably be expected to materially and adversely affect the ability of Seller to convey
          any material portion of the Assets to Purchaser pursuant to this Agreement within five (5)
          Business Days of delivery of the Disclosure Schedules Update;

                 (d)     by written agreement of Seller and Purchaser; or

                 (e)      by Seller or Purchaser if the Closing has not occurred by the date which is thirty
          (30) days after the Closing Date.

                 This Agreement may not be terminated after completion of the Closing.

                   Section 8.02. Effect of Termination. In the event this Agreement is terminated
          pursuant to Section 8.01, all rights and obligations of the parties shall terminate without any
          liability of a party to the other parties; provided, however, that the rights and obligations of the
          parties set forth in this Section 8.02 and Section 9.01, Section 11.01, and Section 11.02 of this
          Agreement shall survive the termination of this Agreement indefinitely.




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                                                 ARTICLE IX.
                                           RESTRICTIVE COVENANTS

                  Section 9.01. Confidential Information. Purchaser, and each member of the Seller
          Group agree that he, she or it shall treat in confidence and shall not use, disseminate or disclose,
          other than in connection with the transactions contemplated by this Agreement, all documents,
          materials and other information regarding the other parties to this Agreement which he, she or it
          obtains during the course of the negotiations leading to the consummation of the transactions
          contemplated by this Agreement (whether obtained on, prior to or following the date hereof) or
          the preparation of this Agreement or any of the Related Agreements (the "Confidential
          Infonnation"). Seller or Purchaser, however, shall be entitled to disclose this Agreement and the
          Related Agreements, together with the exhibits and schedules attached hereto and thereto, to
          their respective legal and tax counsel, advisors and consultants (collectively, "Advisors"), and
          lenders and lender's Advisors, and Stockholders so long as such third parties agree to be bound
          by terms of confidentiality no less restrictive than those provided in this Section 9.01.

                  Section 9.02. Non-Competition.

                 (a)     For a period equal to three (3) years following the Closing (the "Restricted
          Period) no Seller nor the Seller Group nor any of their Affiliates shall, directly or indirectly,
          engage in, own, manage, operate, join, control, as partner, shareholder, consultant, manager,
          agent or otherwise, any individual, corporation, partnership, firm, other company, business
          organization, activity, entity or Person that distributes, provides, markets and/or sells one or
          more Competing Products. The geographic scope for the restriction set forth in this Section
          9.02(a) shall be the world, which geographic scope Seller represents is coextensive with the
          geographic scope of Seller's Business. As used herein, a "Competing Product" shall mean any
          product or service which performs functions similar to or in substitution for the Software.

                  (b)    Seller and Seller Group hereby acknowledge and agree that the Restricted Period,
          geographic scope and scope of restricted activity specified herein are reasonable and necessary in
          view of the transactions contemplated by this Agreement and the nature of the business in which
          Seller was engaged or is engaged as of Closing and in which Purchaser is, or shall be, engaged.
          Seller and Seller Group further acknowledge and agree that the restrictions set forth in this
          Section 9.02 are reasonable and necessary to protect Purchaser's investment under this
          Agreement and to safeguard the value and goodwill associated with the Assets. Seller and Seller
          Group acknowledge and agree that Purchaser would not have entered into this Agreement but for
          Seller's and Seller Group's agreements and obligations pursuant to this Section 9.02. If the
          scope of any stated restriction is too broad to permit enforcement of such restriction(s) to its full
          extent, then the parties agree that such restriction shall be enforced and/or modified to the
          maximum extent permitted by law. The parties agree that in the event of a breach of this Section
          9.02, the Restricted Period shall be extended with respect to the breaching party by the period of
          the breach.

                 Section 9.03. Remedies. Upon any breach of Section 9.01 or Section 9.02 by any Seller
          or any member of the Seller Group, Purchaser shall be entitled to each of the following remedies,
          which shall be deemed cumulative:



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                  (a)     Injunctive Relief. Seller and each member of the Seller Group hereby
          acknowledge that any breach of Section 9.01 or Section 9.02 shall cause irreparable injury to the
          goodwill and proprietary rights of Purchaser and its Affiliates and subsidiaries, for which
          Purchaser shall not have an adequate remedy at law. Accordingly, Seller and each member of
          the Seller Group agree that Purchaser shall be able to seek immediate injunctive relief in the
          form of a temporary restraining order, preliminary injunction and/or permanent injunction
          against Seller and each member of the Seller Group or any of them (without the requirement of
          posting any bond but after making any required showing to the court) to restrain or enjoin any
          actual or threatened violation of any provision of Section 9.01 or Section 9.02.

                  (b)     Costs, Expenses and Attorneys' Fees. Purchaser shall be entitled to recover from
          Seller and each member of the Seller Group or any of theni all costs, expenses and reasonable
          attorneys' fees incurred by Purchaser in seeking either enforcement of Section 9.01 or Section
          9.02 of this Agreement or damages for a breach of such Sections; provided, however, that, in the
          event the remedy contemplated by Section 9.03(a) is denied, then Seller and each member of the
          Seller Group shall be entitled to recover from Purchaser all costs, expenses and reasonable
          attorneys' fees incurred by each of them in defending such action.

                                                     ARTICLE X.
                                                    DEFINITIONS

                  As used in this Agreement, the following terms have the meanings indicated below:

                  "Affiliate" shall mean any Person that directly or indirectly controls, is controlled by or is
          under common control with Purchaser or Seller, as the case may be. As used in this definition,
          "control" (including, its correlative meanings "controlled by" and "under common control with")
          means possession, directly or indirectly, of power to direct or cause the direction of management
          or policies (whether through ownership of ten percent (10%) or more of outstanding voting
          securities or partnership or other ownership interests, by Contract or otherwise).

                  "Assigned Contracts" shall mean all Contracts relating to the Business, the Products
          and/or the Software set forth on Schedule 1.06.

                 "Best Efforts" shall mean the efforts that a reasonable prudent person desirous of
          achieving a result would use in similar circumstances to achieve that result as expeditiously as
          possible.

               "Business Day" shall mean any day other than Saturday, Sunday and any day on which
          commercial banks in the State of Ohio arc authorized by law to be closed.

                 "Code" shall mean the Internal Revenue Code of 1986, as amended.

                  "Collected Revenue" shall mean cash receipts from the Business for the applicable year
          all as determined in accordance with GAAP and as shown on the abstracts or summaries of the
          unaudited, internally prepared financial statements of the Purchaser for such year.




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                  "Contracts" shall mean any contract, agreement, indenture, note, bond, loan, instrument,
          lease, conditional sale contract, mortgage, license, franchise, insurance policy, commitment or
          other arrangement or agreement, whether written or oral.

                 "Controlled Technology" shall include any matter, the export, re-export, or release of
          which to certain jurisdictions or countries is prohibited or requires an export license or other
          governmental approval under any Law, including the US Export Administration Act and its
          associated regulations.

                  "Documentation" shall mean the documentation listed in the attached Schedule 1.01(h)
          and all other documentation (whether in human or machine readable form) describing or relating
          to the Software, including each of the following: operating, installation, administrator, and user
          manuals and training materials; technical, functional, service level, and other requirements and
          specifications; file and record layouts and fields; schematics; flow charts; algorithms;
          architectural diagrams; data models; build instructions; compilation instructions; testing and
          configuration documentation; developer annotations, programming notes, and technical data;
          programming, hardware, system, and network design and configuration documentation; and any
          other documents describing or relating to the creation, design, development, installation,
          implementation, execution, structure, function, performance, correction, modification,
          improvement, or use of the Software or the Software's operating environment, and all updates,
          upgrades, corrections, modifications, translations, releases, versions, and derivative works and
          improvements of each of the foregoing items set forth in this definition.

                  "Encumbrance" shall mean all liens (statutory or other), leases, licenses, mortgages,
          pledges, security interests, conditional sales agreements, charges, claims, options, easements,
          rights of way (other than easements of record), restrictions, and other encumbrances of any kind
          or nature whatsoever, including those encumbrances set forth on any schedule hereto.

                  "Excluded Liabilities" shall include the following: (a) any Liability arising out of or
          related to the products or services of any Seller to the extent or sold prior to the Closing Date; (b)
          any Liability for Taxes arising out of the operation of the Business prior to the Closing Date,
          including: (i) any Taxes arising as a result of Seller's operation of its Business or ownership of
          the Assets prior to the Closing Date; (ii) any cost, expense or Taxes that shall arise as a result of
          the sale of the Assets pursuant to this Agreement; and (iii) any deferred Taxes of any nature; (c)
          any Liability arising out of or relating to any Seller's credit facilities or any security interest
          related thereto; (d) any environmental, health and safety Liabilities arising out of or relating to
          the operation of the Business prior to the Closing Date; (e) any Liability under the employee
          plans or seller's benefit obligations or relating to payroll, vacation, sick leave, pension benefits,
          employee stock option or profit-sharing plans, stock purchase plan, bonus plan or arrangement,
          health care plans or benefits or any other employee plan or benefits of any ldnd for Seller's or its
          Affiliate's employees or former employees, or both, or for any officers, directors or security
          holder of Seller or its Affiliates; (f) any Liability to distribute to any of any Seller's shareholders
          or otherwise apply all or any part of the consideration received hereunder; (g) any Liability
          arising out of any Proceeding pending as of the Closing Date, whether or not set forth in the
          schedules hereto, or any Proceeding commenced after the Closing Date and arising out of, or
          relating to, any occurrence or event happening prior to the Closing Date; (h) any Liability of any
          Seller (or costs and expenses in connection therewith) to the extent that such Liability is actually

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          satisfied or paid on behalf of Seller by an insurer or insurers under a policy issued to Seller; (i)
          any Liability arising from any violation by any Seller or by its officers, employees, or agents of
          any statute (or rule or regulation thereunder) or executive regulation of the United States or any
          state or any political subdivision or agency thereof or any statutes (or rule or regulation
          thereunder) or executive, administrative, or quasi judicial regulation of any foreign government;
          (j) any Liability for or arising under any claim for workers' compensation or for any tort, breach
          of any legal duty, breach or violation of any contract or violation or breach of any law, statute,
          ordinance, rule, regulation, injunction, or decree, or any liability or obligation for any "product
          liability" or other claim connected in any manner with any products, events, or activities
          produced or taking place prior to the Closing; and (k) any Liability of any Seller under this
          Agreement or any of the Related Agreements.

                  "Files and Records" shall mean all files, records and other information of any Seller in its
          possession or in the possession of its agents, attorneys, or consultants, relating to the Business, or
          the Assets, whether in hard copy or magnetic or electronic or other format including customer
          lists and records, referral sources, historical evidence of acquisition (subject to any existing
          written confidentiality obligation restricting the disclosure of any asset purchase agreement or
          portions thereof), use, and protection of the Intellectual Property Assets or Proprietary
          Intellectual Property Assets (including without limitation any agreements and assignments to
          acquire the same from any prior owner and evidence of Seller's or any prior owner's use of the
          same (including as may be useful to establish the date of first use in commerce of any trademark
          and use as of the date of application for trademark registration) as may be necessary or desirable
          for Purchaser to protect its interest in any such intellectual property after Closing), research and
          development reports and records, specifications and drawings, sales and advertising material,
          software, correspondence, manuals, studies, sales literature and promotional material, production
          reports and records, operating guides, copies of financial and accounting records and copies of
          records relating to the employees and Personnel of any Seller to be employed by Purchaser
          following the Closing.

                 "GAAP" shall mean United States generally applied accounting principles as in effect
          from time to time, as consistently applied.

                 "Governing Documents" shall mean, with respect to any particular entity: (a) if a
          corporation, the articles or certificate of incorporation and the bylaws of such entity; (b) if a
          general partnership, the partnership agreement and any statement of partnership; (c) if a limited
          partnership, the limited partnership agreement and the certificate of limited partnership; (d) if a
          limited liability company, the articles of organization and the operating agreement; (e) if another
          type of Person, any other charter or similar document adopted or filed in connection with the
          creation, formation or organization of the Person; (f) all equity holders' agreements, voting
          agreements, voting trust agreements, joint venture agreements, registration rights agreements or
          other agreements or documents relating to the organization, management or operation of any
          Person or relating to the rights, duties and obligations of the equity holders of any Person; and
          (g) any amendment or supplement to any of the foregoing.

                  "Governmental Entity" shall mean any court, government agency, department,
          commission, board, bureau or instrumentality of the United States, any local, county, state,
          federal or political subdivision thereof, or any foreign governmental entity of any kind.

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                  "Intangible Assets" shall mean all intangible personal property rights of any Seller,
          including going concern value, goodwill, the benefit of third party representations, warranties
          and guarantees, customer lists and related information (including telephone numbers, facsimile
          numbers, addresses and e-mail addresses), Files and Records, business plans and strategies,
          referral sources and all other intangible assets of any Seller, whether or not patentable or
          registrable.

                  The phrases "to the Knowledge of' any Person, or "Known to" any Person, or words of
          similar import, shall mean the actual knowledge of such Person without independent
          investigation, except that with respect to any matters relating to or affecting title to the Assets
          (including without limitation Section 4.06 and Section 4.11) such phrases shall mean actual
          knowledge after reasonable investigation.

                  "Law" shall mean any local, county, state, federal, foreign or other law, statute,
          regulation, ordinance, rule, order, decree, judgment, consent decree, settlement agreement or
          governmental requirement enacted, promulgated, entered into, agreed or imposed by any
          Governmental Entity.

                  "Liability" with respect to any Person, shall mean any liability or obligation of such
          Person of any kind, character or description, whether known or unknown, absolute or contingent,
          accrued or unaccrued, disputed or undisputed, liquidated or unliquidated, secured or unsecured,
          joint or several, due or to become due, vested or unvested, executory, determined, determinable
          or otherwise, and whether or not the same is required to be accrued on the financial statements of
          such Person.

                 "Licenses and Permits" shall mean all licenses, permits, franchises, certificates, approvals
          and authorizations that relate directly or indirectly to, or are necessary for, the conduct or
          operation of the Business or the ownership or use of the Assets and all pending applications
          therefor or renewals thereof.

                  "Material Adverse Effect" or "Material Adverse Change" means, when used with respect
          to Seller, any change, event, circumstance or effect that, individually, has a materially adverse
          effect upon the Business, Assets, financial condition, or results of operations of the Business
          taken as a whole; provided, however, that none of the following shall be deemed to constitute,
          and none of the following shall be taken into account in determining whether there has been, a
          Material Adverse Effect: (a) any adverse change, event, development or effect arising from or
          relating to (i) general business or economic conditions, including such conditions related to the
          business of any Seller, (ii) national or international political or social conditions, including the
          engagement by the United States in hostilities, whether or not pursuant to the declaration of a
          national emergency or war or the occurrence of any military or terrorist attack upon the United
          States, or any of its territories, possessions, or diplomatic or consular offices or upon any military
          installation, equipment or personnel of the United States, (iii) financial, banking or securities
          markets (including any disruption thereof and any decline in the price of any security or any
          market index), (iv) changes in GAAP, (v) changes in law, rules, regulations, orders, or other
          binding directives issued by any governmental entity, (vi) the taking of any action contemplated
          by this Agreement and the other agreements contemplated hereby, (vii) any "act of God,"
          including, but not limited to, weather, natural disasters and earthquakes, (viii) any failure by

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          Seller to meet its internal fmancial projections or (ix) changes resulting from the announcement
          of the execution of this Agreement or the transactions contemplated hereunder; and (b) any
          adverse change in effect on, or development with respect to, the business of Seller which is cured
          by Seller prior to the earlier of (x) the Closing Date and (y) the date on which this Agreement is
          terminated pursuant to Article VIII hereof

                 "Open Source Components" shall mean any software component that is subject to any
          open source copyright license agreement, including any GNU General Public License or GNU
          Library or Lesser Public License, or other obligation, restriction, or license agreement that
          substantially conforms to the Open Source Definition as prescribed by the Open Source Initiative
          or otherwise may require disclosure or licensing to any third party of any source code with which
          such software component is used or compiled.

                 "Open Source License" shall mean an open source copyright license agreement
          controlling the distribution and use of one or more Open Source Components.

                 "Ordinary Course of Business" shall mean any action taken by a Person if such action is
          consistent in nature, scope and magnitude (including with respect to quantity and frequency)
          with the past practices of such Person's business and is taken in the ordinary course of the
          normal day-to-day operations of such Person's business.

                 "Person" shall mean any individual, corporation, partnership, joint venture, association,
          limited liability company, joint-stock company, trust or unincorporated organization, or any
          Governmental Entity, officer, department, commission, board, bureau or instrumentality thereof.

                 "Personnel" shall mean either any director, officer, employee, consultant, agent or other
          personnel of Seller or personnel of Purchaser, as applicable.

                  "Pre-Closing Funded Amounts" shall mean the total payments made by Stratesphere to
          Seller prior to Closing for working capital purposes.

                  "Proceeding" shall mean any action, arbitration, audit, hearing, investigation, litigation or
          suit.

                "Pythhos Affiliate" shall mean Pythhos Technology LLC d/b/a Boston Analytics,
          Pythhos Technology Pct. Ltd., Pythhos Technology Singapore Holding Pte. Ltd., Pythhos
          Technology Holding Limited and Pythhos Technology Holding (B.V.I.) Inc.

                 "Related Agreements" shall mean the Bill of Sale, the Assignment and Assumption
          Agreement, the Trademark Assignment, the Copyright Assignment, and any other documents
          and instruments executed and delivered in connection with any of them.

                  "Related Person" shall mean: With respect to a particular individual: (a) each other
          member of such individual's Family; (b) any Person that is directly or indirectly controlled by
          any one or more members of such individual's Family; and (c) any Person with respect to which
          one or more members of such individual's Family serves as a director, officer, partner, executor
          or trustee (or in a similar capacity).


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                  With respect to a specified Person other than an individual:

                  (i)     any Person that directly or indirectly controls, is directly or indirectly controlled
          by or is directly or indirectly under common control with such specified Person;

                  (ii)   each Person that serves as a director, officer, partner, executor or trustee of such
          specified Person (or in a similar capacity); and

                  (iii)    any Person with respect to which such specified Person serves as a general partner
          or a trustee (or in a similar capacity).

                  For purposes of this defmition: (a) "control" (including "controlling," "controlled by,"
          and "under common control with") means the possession, directly or indirectly, of the power to
          direct or cause the direction of the management and policies of a Person, whether through the
          ownership of voting securities, by Contract or otherwise, and shall be construed as such term is
          used in the rules promulgated under the Securities Act; (b) the "Family" of an individual
          includes: (i) the individual; (ii) the individual's spouse; (iii) any other natural person who is
          related to the individual or the individual's spouse within the second degree; and (iv) any other
          natural person who resides with such individual.

                  "Securities Act" shall mean the Securities Act of 1933, as amended and the rules and
          regulations promulgated thereunder from time to time.

                  "Software" shall mean the software listed in the attached Schedule 1.01(h) as more
          specifically described in the Documentation, including: (i) the software's Source Code and
          object code; and (ii) all databases, files, application programming interfaces, and other
          components of and works embodied in the software (including any audio or visual content or
          screen displays in the user interface), and all updates, upgrades, corrections, modifications,
          translations, releases, versions, and derivative works and improvements of each of the foregoing
          databases, files, application programming interfaces, and other components of and works
          embodied in the software.

                  "Source Code" shall mean the human readable source code of the Software to which it
          relates, in the programming language in which the Software was written, together with all related
          flow charts and technical documentation, including a description of the procedure for generating
          object code, all of a level sufficient to enable a programmer reasonably fluent in such
          programming language to understand, build, operate, support, maintain, and develop
          modifications, upgrades, updates, adaptations, enhancements, new versions and other derivative
          works and improvements of, and to develop computer programs compatible with, the Software.

                  "Tax" or "Taxes" shall mean all federal, state, local and foreign taxes (including excise
          taxes, value added taxes, occupancy taxes, employment taxes, unemployment taxes, ad valorem
          taxes, custom duties, transfer taxes and fees), levies, imposts, impositions, assessments and other
          governmental charges of any nature imposed upon a Person, including all taxes and
          governmental charges imposed upon any of the personal properties, real properties, tangible or
          Intangible Assets, income, receipts, payrolls, transactions, stock transfers, capital stock, net
          worth or franchises of a Person (including all sales, use, withholding or other taxes which a


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          Person is required to collect or pay over to any government), and all related additions to tax,
          penalties or interest thereon.

                   "Tax Return" shall mean and include all returns, statements, declarations, estimates,
          forms, reports, information returns and any other documents (including all consolidated,
          affiliated, combined or unitary versions of the same), including all related and supporting
          information, filed or required to be filed with any Governmental Entity in connection with the
          determination, assessment, reporting, payment, collection or administration of any Taxes.

                In addition to terms defined above, the following terms shall have the respective
          meanings given to them in the sections set forth below:

                 Defined term                                    Section

                 Advisors                                        Section 9.01
                 Agreement                                       Preamble
                 Allocation                                      Section 1.07
                 Assets                                          Section 1.01
                 Assignment and Assumption Agreement             Section 2.02(b)
                 Assumed Liabilities                             Section 1.03
                 Bill of Sale                                    Section 2.02(a)
                 Business                                        Recitals
                 Claimant                                        Section 7.03
                 Closing                                         Section 2.01
                 Closing Date                                    Section 2.01
                 Competing Product                               Section 9.02(a)
                 Confidential Information                        Section 9.01
                 Copyright Assignment                            Section 2.02(c)
                 Disagreement Notice                             Section 7.05
                 Disclosure Schedule Updates                     Section 6.05
                 Disclosure Schedules                            Article IV
                 Election Notice                                 Section 7.04
                 Excluded Assets                                 Section 1.02
                 Financial Statements                            Section 4.04
                 Fundamental Matters                             Section 7.08
                 Indemnification Cap                             Section 7.08
                 Indemnification Notice                          Section 7.03
                 Indemnifying Party                              Section 7.03
                 Indemnity Loss                                  Section 7.01
                 Independent Auditor                             Section 1.05(b)(iii)
                 Intellectual Property Assets                    Section 4.06(a)
                 IP Items                                        Section 4.06(c)
                 Litigation Notice                               Section 7.03
                 Material Consent                                Section 1.07(b)
                 Material Contracts                              Section 4.09
                 Other Party's Indemnified Parties               Section 7.08
                 Proprietary Intellectual Property Assets        Section 4.06(b)

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                 Purchase Price                                    Section 1.05
                 Purchaser Indemnified Parties                     Section 7.01
                 Required Approvals Schedule                       Section 1.07(b)
                 Restricted Material Contract                      Section 1.07(b)
                 Restricted Period                                 Section 9.02(a)
                 Royalty Year                                      Section 1.08
                 Seller                                            Preamble
                 Seller Group                                      Preamble
                 Seller Indemnified Parties                        Section 7.02
                 Seller Stockholders                               Preamble
                 Seller's Calculation                              Section 1.05(b)(iii)
                 Tax Benefit                                       Section 7.09(b)
                 Trademark Assignment                              Section 2.02(c)
                 Transition Services Agreement                     Section 2.02(d)
                 Work Product                                      Section 4.07(c)

                                                   ARTICLE XI.
                                                 MISCELLANEOUS

                  Section 11.01. Public Announcements. No party to this Agreement shall make any
          public announcement of the transactions provided for in or contemplated by this Agreement or
          any of the Related Agreements unless the form and substance of the announcement are mutually
          agreed upon by each party, which agreement shall not be unreasonably withheld, conditioned or
          delayed, or unless public disclosure is necessary to comply with applicable Laws.

                 Section 11.02. Costs and Expenses. Whether or not the transactions contemplated by
          this Agreement and the Related Agreements are consummated, except as otherwise expressly
          provided herein, each of the parties shall bear all expenses and costs incurred by it in connection
          with this Agreement and the Related Agreements and the transactions contemplated by any of
          them, including, without limitation, the fees and disbursements of any legal counsel, independent
          accountants or any other Person or representative whose services have been used by such party.

                  Section 11.03. Further Assurances.

                  (a)    From and after the date of this Agreement, the parties shall cooperate reasonably
          with each other in connection with any steps required to be taken as part of their respective
          obligations under this Agreement or any of the Related Agreements, and shall: (a) furnish upon
          request to each other such further information; (b) execute and deliver to each other such other
          documents; and (c) do such other acts and things, all as the other party may reasonably request
          for the purpose of carrying out the intent of transactions contemplated by this Agreement and the
          Related Agreements.

                  (b)    Without limiting the foregoing, to the extent, if any, not executed and delivered to
          Kognetics LLC with this Agreement, Seller shall execute and deliver to Purchaser such
          assignments and other documents, certificates, and instruments of conveyance in a form suitable
          for filing with the United States Copyright Office ("US Copyright Office") or United States
          Patent and Trademark Office ("USPTO"), as applicable, and the registries and other recording

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          governmental authorities in all applicable jurisdictions (including with respect to legalization,
          notarization, consularization, apostille, certification, and other authentication) as necessary to
          record and perfect the Trademark Assignment(s) and the Copyright Assignment(s), and to vest in
          Purchaser all right, title, and interest in the IP Items in accordance with applicable Law. As
          between Seller and Purchaser, Purchaser shall be responsible, at Purchaser's expense, for filing
          the Trademark Assignment(s) and the Copyright Assignment(s), and other documents,
          certificates, and instruments of conveyance with the applicable governmental authorities;
          provided that, upon Purchaser's request, Seller shall take such steps and actions, and provide
          such cooperation and assistance, to Purchaser and its successors, assigns, and legal
          representatives, including the execution and delivery of any affidavits, declarations, oaths,
          exhibits, assignments, powers of attorney, or other documents, as may be necessary to effect,
          evidence, or perfect the assignment of the IP Items to Purchaser, or any of Purchaser's
          successors or assigns.

                  Section 11.04. Addresses for Notices, Etc. All notices, requests, demands and other
          communications that are required or may be given pursuant to the terms of this Agreement or
          any of the Related Agreements shall be in writing, and delivery shall be deemed sufficient in all
          respects and to have been duly given as follows: (a) on the actual date of service if delivered
          personally; (b) at the time of receipt of confirmation by the transmitting party if by facsimile
          transmission; (c) at the time of receipt if given by electronic mail to the e-mail addresses set forth
          in this Section 11.04, provided that a party sending notice by electronic delivery shall bear the
          burden of authentication and of proving transmittal, receipt and time of receipt; (d) on the third
          day after mailing if mailed by first class mail return receipt requested, postage prepaid and
          properly addressed as set forth in this Section 11.04; or (e) on the day after delivery to a
          nationally recognized overnight courier service during its business hours or the Express Mail
          service maintained by the United States Postal Service during its business hours for overnight
          delivery against receipt, and properly addressed as set forth in this Section:

                         If to any Seller:



                                                 Attention:
                                                 Facsimile:
                                                 E-mail:

                         With a copy to (which copy shall not constitute notice hereunder):



                                                 Attention:
                                                 Facsimile:
                                                 E-mail:




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          If to Purchaser:
                                                Kognetics Holding Company LLC
                                                147 N. High Street
                                                Gahanna, Ohio 43230
                                                Attention: Tariq Farwana
                                                Facsimile: 614-416-8153
                                                E-mail: tfarwana@stratesphere.com

                         With a copy to (which copy shall not constitute notice hereunder):
                                              Ice Miller LLP
                                              250 West Street
                                              Columbus, Ohio 43215
                                              Attn: Richard A. Barnhart
                                              Facsimile: 614-228-3175
                                              E-mail: richard.barnhartgicemiller.com

                  Any party may change its address or other contact information for notice by giving notice
          to each other party in accordance with the terms of this Section 11.04. In no event shall delivery
          to a copied Person alone constitute delivery to the party represented by such copied Person.

                 Section 11.05. Headings. The article, section and paragraph headings in this Agreement
          are for reference purposes only and shall not affect the meaning or interpretation of this
          Agreement.

                 Section 11.06. Construction.

                  (a)     The parties have participated jointly in the negotiation and drafting of this
          Agreement and the Related Agreements, and, in the event of an ambiguity or a question of intent
          or a need for interpretation arises, this Agreement and the Related Agreements shall be construed
          as if drafted jointly by the parties and no presumption or burden of proof shall arise favoring or
          disfavoring any party by virtue of the authorship of any of the provisions of this Agreement or
          any of the Related Agreements.

                  (b)    Except as otherwise specifically provided in this Agreement or any of the Related
          Agreements (such as by "sole", "absolute discretion", "complete discretion" or words of similar
          import), if any provision of this Agreement or any of the Related Agreements requires or
          provides for the consent, waiver or approval of a party, such consent, waiver or approval shall
          not be unreasonably withheld, conditioned or delayed.

                  (c)     The Schedules referred to herein shall be construed with and as an integral part of
          this Agreement to the same extent as if they were set forth verbatim herein. Disclosure of any
          fact or item in any Schedule hereto referenced by a particular Section in this Agreement shall be
          deemed to have been disclosed with respect to every other Section in this Agreement, but only to
          the extent that the import for such other Sections is reasonably apparent from the face of such
          disclosure as so made.




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                  (d)     Words of any gender used in this Agreement or any of the Related Agreements
          shall be held and construed to include any other gender; words in the singular shall he held to
          include the plural and words in the plural shall be held to include the singular, unless and only to
          the extent the context indicates otherwise.

                 (e)      Reference to any Law means such Law as amended, modified, codified, replaced
          or reenacted, in whole or in part, and in effect from time to time, including rules and regulations
          promulgated thereunder, and reference to any section or other provision of any Law means that
          provision of such Law from time to time in effect and constituting the substantive amendment,
          modification, codification, replacement or reenactment of such section or other provision.

                 (f)    "Hereunder," "hereof," "hereto," "herein," and words of similar import shall be
          deemed references to this Agreement as a whole and not to any particular article, section or other
          provision hereof.

                  (g)    "Including" (and with correlative meaning "include") means including without
          limiting the generality of any description preceding such term.

                  (h)    "Or" is used in the inclusive sense of "and/or."

                  (i)     References to documents, instruments or agreements shall be deemed to refer as
          well to all addenda, appendices, exhibits, schedules or amendments thereto.

                 Section 11.07. Severability. The invalidity or unenforceability of any provision of this
          Agreement or any of the Related Agreements shall in no way affect the validity or enforceability
          of any other provision of this Agreement or any of the Related Agreements. Wherever possible,
          each provision hereof shall be interpreted in such a manner as to be effective and valid under
          applicable Law. In case any one or more of the provisions contained herein shall, for any reason,
          be held to be invalid, illegal or unenforceable in any respect, such provision or provisions shall
          be ineffective to the extent, but only to the extent, of such invalidity, illegality or
          unenforceability, without invalidating the remainder of such invalid, illegal or unenforceable
          provision or provisions or any other provisions hereof, unless such a construction would be
          unreasonable.

                  Section 11.08. Remedies. Each party hereby acknowledges that its obligations under this
          Agreement are unique and that any breach or threatened breach of such obligations may result in
          irreparable harm and substantial damages to the other party. Accordingly, notwithstanding any
          provision of this Agreement to the contrary, in the event of a breach or threatened breach by
          either party of any of the provisions of this Agreement (including, a failure by a party to
          consummate the transactions contemplated by this Agreement after all the conditions to close set
          forth in Article III have been satisfied by the other party), the substantially nonbreaching party
          shall have the right, in addition to exercising any other remedies at law or equity that may be
          available to it under this Agreement or otherwise, to obtain ex parte, preliminary, interlocutory,
          temporary or permanent injunctive relief, specific performance and other equitable remedies in
          any court of competent jurisdiction to prevent the substantially breaching party from violating
          such provision or provisions or to prevent the continuance of any violation thereof, together with
          an award or judgment for any and all damages, losses, liabilities, expenses and costs incurred by


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          the substantially non-breaching party as a result of such breach or threatened breach, including
          attorneys' fees incurred in connection with, or as a result of, the enforcement of this Agreement.
          Each party expressly waives any requirement based on any Law, that the substantially non-
          breaching party post a bond as a condition of obtaining any of the above described remedies.

                  Section 11.09. Entire Agreement and Amendment. This Agreement and the Related
          Agreements, including the Exhibits and Schedules referred to and incorporated by reference
          herein and therein that forms a part of this Agreement and the Related Agreements contain the
          entire understanding of the parties with respect to the subject matter of this Agreement and the
          Related Agreements. There are no representations, promises, warranties, covenants or
          undertakings other than those expressly set forth in or provided for in this Agreement or the
          Related Agreements. This Agreement and the Related Agreements supersede all prior
          agreements and understandings among the parties hereto with respect to the transactions
          contemplated by this Agreement and the Related Agreements. This Agreement may not be
          amended, supplemented or otherwise modified except by a written agreement executed by each
          of the parties hereto.

                  Section 11.10. No Waiver; Cumulative Remedies. Except as specifically set forth
          herein, the rights and remedies of the parties to this Agreement are cumulative and not
          alternative. No failure or delay on the part of any party in exercising any right, power or remedy
          under this Agreement or any of the Related Agreements shall operate as a waiver of such right,
          power or remedy, and no single or partial exercise of any such right, power or remedy shall
          preclude any other or further exercise of such right, power or remedy or the exercise of any other
          right, power or remedy. To the maximum extent permitted by applicable law: (a) no claim or
          right arising out of this Agreement or any of the Related Agreements can he discharged by one
          party, in whole or in part, by a waiver or renunciation of the claim or right unless in writing
          signed by the other party; (b) no waiver that may be given by a party shall be applicable except
          in the specific instance for which it is given; and (c) no notice to or demand on one party shall be
          deemed to be a waiver of any obligation of that party or of the right of the party giving such
          notice or demand to take further action without notice or demand as provided in this Agreement
          or any of the Related Agreements.

                  Section 11.11. Parties in Interest. Nothing in this Agreement is intended to confer any
          rights or remedies under or by reason of this Agreement on any Person other than Seller and
          Purchaser, and their respective successors and permitted assigns.

                  Section 11.12. Successors and Assigns; Assignment. This Agreement shall be binding
          upon and inure to the benefit of each of the parties hereto and their respective successors and
          permitted assigns. Seller shall not have the right to assign or delegate its rights or duties
          hereunder or under any of the Related Agreements, in whole or in part, without the prior written
          consent of Purchaser. Purchaser may, without any prior notice to or consent of Seller, assign or
          delegate, in whole or in part, its rights and duties under this Agreement and the Related
          Agreements to any Affiliates or to any Person who shall acquire all or substantially all of the
          Assets or the then outstanding voting securities of Purchaser whether by purchase, merger,
          consolidation or otherwise. Except as expressly set forth herein, nothing in this Agreement shall
          confer any claim, right, interest or remedy on any Person (other than the parties hereto) or inure
          to the benefit of any Person (other than the parties hereto).

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                  Section 11.13. Governing Law; Jurisdiction and Venue.

                  (a)     Applicable Law. The Laws of the State of Ohio shall govern the creation,
          interpretation, construction and enforcement of and the performance under this Agreement and
          the Related Agreements and all transactions and agreements contemplated by any of them, as
          well as any and all claims arising out of or relating in any way to this Agreement or any of the
          Related Agreements, notwithstanding the choice of law rules of any other state or jurisdiction.

                  (b)     Court Proceedings. Any action or Proceeding permitted by the terms of this
          Agreement to be filed in a court, which the action or Proceeding is brought to enforce, challenge
          or construe the terms or making of this Agreement or any of the Related Agreements, and any
          claims arising out of or related to this Agreement or any of the Related Agreements, shall be
          exclusively brought and litigated exclusively in a state or federal court having subject matter
          jurisdiction and located in Columbus, Ohio. Each party hereby irrevocably waives any objection
          or defense which it may now or hereafter have of improper venue, forum non conveniens or lack
          of personal jurisdiction; provided, however, that Purchaser, in its sole discretion, may elect to
          bring any action or claim relating to or arising out of a breach by Seller of Sections 9.01, 9.02 or
          9.03 of this Agreement in the county or state where the breach by Seller occurred or where any
          breaching Seller can be found. Each party further irrevocably consents to the service of process
          out of such courts by the mailing of a copy thereof, by registered mail, postage prepaid, to the
          party and agrees that such service, to the fullest extent permitted by applicable laws, (i) shall be
          deemed in every respect effective service of process upon it in any suit, action or Proceeding
          arising out of or related to this Agreement or any of the Related Agreements and (ii) shall be
          taken and held to be valid personal service upon and personal delivery to it. Nothing herein
          contained shall affect the right of each party to serve process in any other manner permitted by
          applicable laws.

                  Section 11.14. Waiver of Jury Trial. For any action or Proceeding which is permitted
          under this Agreement to be filed in a court, each party hereby expressly and irrevocably waives
          any right to a trial by jury in such action or Proceeding, including but not limited to those actions
          or Proceedings to enforce or defend any rights under this Agreement or any of the Related
          Agreements or under any amendment, consent, waiver, instrument, document or agreement
          delivered or which may in the future be delivered in connection with any of them or arising from
          any relationship existing in connection with this Agreement or any of the Related Agreements.
          Each party agrees that in any such action or Proceeding, the matters shall be tried to a court and
          not to a jury.

                  Section 11.15. Counterparts. This Agreement may be executed in two (2) or more
          counterparts, each of which shall be deemed an original, but all of which shall together constitute
          one and the same agreement. Facsimile transmission of a counterpart hereto shall constitute an
          original hereof

                  Section 11.16. Schedules, Exhibits and Certificates. All Schedules and Exhibits
          referred to herein form an integral part of this Agreement and shall be deemed to be part of this
          Agreement to the same extent as if set forth in the text of this Agreement.

                                         [SIGNATURE PAGE FOLLOWS]


                                                           37
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CONFIDENTIAL                                                                                       Stratesphere-000041
    Case: 2:20-cv-02972-MHW-CMV Doc #: 140-6 Filed: 05/16/22 Page: 42 of 82 PAGEID #: 6011




                  IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the date
          first written above.



                                                   STRATES          , LLC

                                                   B
                                                   Name: Tariq        a, Managing Director




                                                                                        Signature Page to
                                                                                Asset Purchase Agreement




CONFIDENTIAL                                                                               Stratesphere-000042
    Case: 2:20-cv-02972-MHW-CMV Doc #: 140-6 Filed: 05/16/22 Page: 43 of 82 PAGEID #: 6012




                  IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the date
          first written above.

                                                   KOGNET              DING COMPANY LLC

                                                   By:
                                                   Name: Tariq Far s     President




                                                                                        Signature Page to
                                                                                Asset Purchase Agreement




CONFIDENTIAL                                                                                Stratesphere-000043
    Case: 2:20-cv-02972-MHW-CMV Doc #: 140-6 Filed: 05/16/22 Page: 44 of 82 PAGEID #: 6013




                  IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the date
          first written above.

                                                   KOGN      IC   LC

                                                    y:
                                                   Name: a        -wana_, President




                                                                                         Signature Page to
                                                                                 Asset Purchase Agreement




CONFIDENTIAL                                                                                 Stratesphere-000044
    Case: 2:20-cv-02972-MHW-CMV Doc #: 140-6 Filed: 05/16/22 Page: 45 of 82 PAGEID #: 6014




                  IN WITNESS WHEREOF, the parties heret   ave executed this Agreement as of the date
          first written above.




                                                                                       Signature Page to
                                                                               Asset Purchase Agreement




CONFIDENTIAL                                                                               Stratesphere-000045
    Case: 2:20-cv-02972-MHW-CMV Doc #: 140-6 Filed: 05/16/22 Page: 46 of 82 PAGEID #: 6015




                   IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the date
           first written above.


                                                            \f‘pikli://*: #
                                                    Inderpieet S. hukral




                                                                                         Signature Page to
                                                                                 Asset Purchase Agreement




CONFIDENTIAL                                                                                   Stratesphere-000046
    Case: 2:20-cv-02972-MHW-CMV Doc #: 140-6 Filed: 05/16/22 Page: 47 of 82 PAGEID #: 6016




                  IN WITNESS WHEREOF, the parties hereto have executed this Agreement as of the date
          first written above.

                                                   KOGNET CS, INC.

                                                   By:
                                                   Name:                            S
                                                   Title:   GEO




                                                                                        Signature Page to
                                                                                Asset Purchase Agreement




CONFIDENTIAL                                                                               Stratesphere-000047
    Case: 2:20-cv-02972-MHW-CMV Doc #: 140-6 Filed: 05/16/22 Page: 48 of 82 PAGEID #: 6017




                            Disclosure Schedules to Asset Purchase Agreement

                                               By and Among:

                                            Stratesphere, LLC
                                     Kognetics Holding Company LLC

                                                 Purchasers:

                                                Kognetics LLC

                                                    Sellers:

                                                Kognetics, Inc.
                                                Inder Thukral
                                                 Raj eev Vaid

                                               August 22, 2018

                                                  Schedules:

       Schedule 1.01(c) — Intellectual Property Assets and all Proprietary Intellectual Property Assets
       Schedule 1.01(h) — Software and Documentation
       Schedule 1.03(a) — Assumed Liabilities - Assigned Contracts
       Schedule 1.03(b) — Assumed Liabilities - Assigned Vendor Contracts
       Schedule 1.06 — Assigned Contracts
       Schedule 1.06(b) — Material Consents
       Schedule 1.07 — Allocation of Purchase Price
       Schedule 1.11 — Stratesphere Option/ Ownership Percentage
       Schedule 4.04 — Financial Statements
       Schedule 4.05 — Tax Matters
       Schedule 4.06(e) — Name and Employer of Anyone who has Contributed to the Software
       Schedule 4.06(e)(k)(v) — Open Source Code
       Schedule 4.08 — Material Contracts
       Schedule 4.12 — Customers




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CONFIDENTIAL                                                                                 Stratesphere-000048
    Case: 2:20-cv-02972-MHW-CMV Doc #: 140-6 Filed: 05/16/22 Page: 49 of 82 PAGEID #: 6018




                                                    Schedule 1.01(c)

                 Intellectual Property Assets and all Proprietary Intellectual Property Assets


      Category                        Critical IP

      Algorithm - Graph Analytics     Identifying Convergence Trends in a Sector
      Algorithm - Graph Analytics     Identifying Potential Acquirers for a Company
      Algorithm - Graph Analytics     Identifying Strategic Gaps for a Company
      Algorithm - Machine Learning    Predicting Industry Maturity
      Algorithm - Machine Learning    Predicting Funding Likelihood for an Industry
      Algorithm - Machine Learning    Predicting Acquisition Likelihood for an Industry
      Algorithm - Machine Learning    Classifying companies by industry segment using unstructured text corpus as input
      Algorithm - Machine Learning    Concept recommendation Engine suggests concepts that frequently correlate with fed concept
      NLP - Pipelines                 Extracting Events/ Signals from Unstructured corpus for Company, Country, People, Sector etc.
      NLP - Pipelines                 Extracting Facts about companies from unstructured corpus
      NLP - Pipelines                 Extracting partners, customers from company website
      NLP - Pipelines                 Semantic Search Pipeline
      Taxonomy/ Ontologies            Company Events Taxonomy
      Taxonomy/ Ontologies            Country Events Taxonomy
      Taxonomy/ Ontologies            Person Events Taxonomy
      Taxonomy/ Ontologies            Product Events Taxonomy
      Taxonomy/ Ontologies            Industry Taxonomy - For 50+ TMT sectors
      Taxonomy/ Ontologies            Taxonomy to identify reported non-recurring items in a company financial statement
      Application                     M&A Deal Sourcing Application
      Application                     M&A Smart Automation Application
      Knowledge Graph                 Kognetics Knowledge Graph
      Proprietary Data/ Insights -
      Companies                       Company Business Signals
      Proprietary Data/ Insights -
      Companies                       Critical Strategic Gaps
      Proprietary Data/ Insights -
      Companies                       Potential Acquirers
      Proprietary Data/ Insights -
      Companies                       Funding Momentum
      Proprietary Data/ Insights -
      Companies                       Acquisition Momentum
      Proprietary Data/ Insights -
      Companies                       Exit Momentum
      Proprietary Data/ Insights -
      Industry                        Industry Maturity
      Proprietary Data/ Insights -
      Industry                        Funding Likelihood for Industry
      Proprietary Data/ Insights -
      Industry                        Acquisition Likelihood for Industry




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CONFIDENTIAL                                                                                        Stratesphere-000049
    Case: 2:20-cv-02972-MHW-CMV Doc #: 140-6 Filed: 05/16/22 Page: 50 of 82 PAGEID #: 6019



      Proprietary Data/ Insights -
      Industry                       Funding Momentum
      Proprietary Data/ Insights -
      Industry                       Acquisition Momentum
      Proprietary Data/ Insights -
      Industry                       Exits Momentum
      Proprietary Data/ Insights -
      Industry                       Converging Sub-Industry Segments
      Proprietary Data/ Insights -
      Investor                       Investment Momentum by Sector
      Proprietary Data/ Insights -
      Investor                       Exit Momentum by Sector
      Proprietary Data/ Insights -
      Investor                       Critical Strategic Gaps for Portfolio Companies
      Proprietary Data/ Insights -
      Investor                       Portfolio Companies by Sector
      Proprietary Data/ Insights -
      Investor                       High Growth Portfolio Companies by Sector
      Proprietary Data/ Insights -
      Investor                       Portfolio Companies Due for Exit by Sector
      Proprietary Data/ Insights -
      Investor                       Active Investment Partners by Sector
      Proprietary Data/ Insights -
      Investor                       Strategic Buyers for Portfolio Companies
      Proprietary Data/ Insights -
      Industry                       Sector Market Maps




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CONFIDENTIAL                                                                           Stratesphere-000050
    Case: 2:20-cv-02972-MHW-CMV Doc #: 140-6 Filed: 05/16/22 Page: 51 of 82 PAGEID #: 6020




                                                                     Schedule 1.01(h)

                                                        Software and Documentation




                                                                            SVN/GIT/ Monitoring
                                             [                        i7/8core/8GB" Dedicated Machine
                                                                               IP: 172.20.1.151


                 CODING ENVIRONMENT                                                                               Development ENV
                                                                                                                                MYSQL
                                       Developer                                                                   "i7/8core/16GB" Dedicated Machine



                Dependencies
                       ➢
                       )%.
                               Tomcat Apache 7.0
                               Eclipse IDE
                                                                                                          gr•                 FINANCE
                                                                                                                   "i7/4core/32GB" Dedicated Machine
                                                                                                                                                       1

                                                                                                                                SOLR
                       ➢       JDK 1.7                                                                             "i7/8core/32GB" Dedicated Machine
                       )%.     Python 2.7.6
                       ➢       Apache Maven 3.0
                               Anarha lann
                                                                                                                             STORAGE
                                                                                                                            SYNOLOGY



                                                                                       UAT ENV

         .01
         •
                        TOMCAT/SECaN
                            Dedicated
                         i7/8core/32GB"
                                                 I I.            i ythoDnactE: :NapDpein
                                                                                       dgicated

                                                                                 " Dedicated
                                                                                                  1
                                                                                                  IN   Python/SECaN Dedicated
                                                                                                         Data Pre-Processing
                                                                                                           "i7/8core/32GB"
                                                                                                                                        App Server for Commix
                                                                                                                                                Usages
                                                                                                                                           "i7/8core/32GB"
                                                                                                                                                                .
                                                                                     PROD ENV
                      PROD-                             PROD-                           PROD-                 PROD-PPT             PROD-RDS                PROD-
                       SOLR                             FUSEKI                         FINANCE                  Intel              Data Base                DWS
                       Intel                             Intel                           Intel                 Xeon/1              Dedicated                Intel

                                                                                                                     ♦




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CONFIDENTIAL                                                                                                                    Stratesphere-000051
    Case: 2:20-cv-02972-MHW-CMV Doc #: 140-6 Filed: 05/16/22 Page: 52 of 82 PAGEID #: 6021




                                          Schedule 1.03(a)

                              Assumed Liabilities — Assigned Contracts




          1. Union Square Advisors, US
          2. Code Advisors, US
          3. BMO Capital Partners, US
          4. Houlihan Lokey, US
          5. Lazard, US
          6. Vista Equity, US
          7. Workday, US
          8. KPMG LLP
          9. Tailwind
          10. DBS Bank
          11. The Bakery (for Deloitte)
          12. DMI




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CONFIDENTIAL                                                                Stratesphere-000052
    Case: 2:20-cv-02972-MHW-CMV Doc #: 140-6 Filed: 05/16/22 Page: 53 of 82 PAGEID #: 6022




                                          Schedule 1.03(b)

                           Assumed Liabilities — Assigned Vendor Contracts




          1.   Crunchbase Data License
          2.   Morning Star Data License
          3.   Xignite Data License
          4.   Amazon AWS Cloud Hosting
          5.   Microsoft Office 365
          6.   Neo4j Enterprise
          7.   Apache Solr and Lucene License
          8.   Github License




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CONFIDENTIAL                                                                 Stratesphere-000053
    Case: 2:20-cv-02972-MHW-CMV Doc #: 140-6 Filed: 05/16/22 Page: 54 of 82 PAGEID #: 6023




                                            Schedule 1.06

                                          Assigned Contracts



          1. Union Square Advisors, US
          2. Code Advisors, US
          3. BMO Capital Partners, US
          4. Houlihan Lokey, US
          5. Lazard, US
          6. Vista Equity, US
          7. Workday, US
          8. KPMG LLP
          9. Tailwind
          10. DBS Bank
          11. The Bakery (for Deloitte)
          12. DMI




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CONFIDENTIAL                                                                Stratesphere-000054
    Case: 2:20-cv-02972-MHW-CMV Doc #: 140-6 Filed: 05/16/22 Page: 55 of 82 PAGEID #: 6024




                                          Schedule 1.06(b)

                                          Material Consents




          1. Union Square Advisors, US
          2. Code Advisors, US
          3. BMO Capital Partners, US
          4. Houlihan Lokey, US
          5. Lazard, US
          6. Vista Equity, US
          7. Workday, US
          8. KPMG LLP
          9. Tailwind
          10. DBS Bank
          11. The Bakery (for Deloitte)
          12. DMI




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CONFIDENTIAL                                                                Stratesphere-000055
    Case: 2:20-cv-02972-MHW-CMV Doc #: 140-6 Filed: 05/16/22 Page: 56 of 82 PAGEID #: 6025




                                         Schedule 1.07

                                  Allocation of Purchase Price




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CONFIDENTIAL                                                                Stratesphere-000056
    Case: 2:20-cv-02972-MHW-CMV Doc #: 140-6 Filed: 05/16/22 Page: 57 of 82 PAGEID #: 6026




                                               Schedule 3.03

                                         Post-Closing Delieverables

          •    Seller Group must furnish etiher a Quitclaim Intellectual Property Assignment signed by
               Pythhos Technology Pvt. Ltd., and any other affiliate which worked on the Software or
               alternatively an applicable MSA — August 31, 2018
          •    Explain Schedule 1.01(c) — August 24, 2018
          •    Obtain consents as set forth on Schedule 1.03(b) — renewal date of each contract
          •    Obtain consents as set forth on Schedule 1.06(b) — September 30, 2018
          •    Certifiacte of Existence for Kogentics Inc. — August 24, 2018
          •    Complete the Officer's Certificate — August 31, 2018
          •    Complete Exhibit A to the Quitclaim Intellectual Property Assignment — August 31, 2018




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CONFIDENTIAL                                                                              Stratesphere-000057
    Case: 2:20-cv-02972-MHW-CMV Doc #: 140-6 Filed: 05/16/22 Page: 58 of 82 PAGEID #: 6027




                                         Schedule 4.04

                                     Financial Statements




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CONFIDENTIAL                                                                Stratesphere-000058
    Case: 2:20-cv-02972-MHW-CMV Doc #: 140-6 Filed: 05/16/22 Page: 59 of 82 PAGEID #: 6028




                                                      KOGNETICS INC.
                                            BALANCE SHEET AS AT DECEMBER 31, 2017



                                                                             Actual       Actual

                                                               Schedule      As At         As At
                                                                 No.       31-Dec-17     31-Dec-16
                                                                              USD           USD
               SOURCES OF FUNDS :

                  SHAREHOLDERS' FUNDS

                  Share Application                               1            201,750       202,500
                  Reserve and Surplus

                  LOAN FUNDS                                      2
                  Un Secured Loans

                                                                               201,750       202,500
               APPLICATIONS OF FUNDS :

                  FIXED ASSETS
                  Gross Block                                                  510,000       200,000
                  Less: Accumulated depreciation
                  Net Block                                                    510,000       200,000

                  CURRENT ASSETS, LOANS AND ADVANCES

                  Cash and Bank Balances                          4                207
                  Sundry Debtors                                  5             79,500
                                                                  A             79,707
                  Less: CURRENT LIABILITIES AND PROVISIONS
                  Current Liabilities                             6            413,710         1,000

                                                                  B            413,710         1,000

                  NET CURRENT ASSETS                                           175,997      199,000

                  PROFIT & LOSS ACCOUNT DEBIT BALANCE                           25,753         3,500

                                                                               201,750       202,500



                  For and on behalf of the Board




                  Inder Thu kral
                  Chief Executive Officer




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CONFIDENTIAL                                                                                           Stratesphere-000059
    Case: 2:20-cv-02972-MHW-CMV Doc #: 140-6 Filed: 05/16/22 Page: 60 of 82 PAGEID #: 6029




                                               Schedule 4.05

                                               Tax Matters


       Kognetics Inc. has filed on a timely basis all tax Returns with respect to Taxes that are or
       were required to be filed. Kognetics Inc. has paid all Taxes and there are no pending
       payments.




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CONFIDENTIAL                                                                             Stratesphere-000060
    Case: 2:20-cv-02972-MHW-CMV Doc #: 140-6 Filed: 05/16/22 Page: 61 of 82 PAGEID #: 6030




                                              Schedule 4.06(e)

                      Name and Employer of Anyone who has Contributed to the Software

                        Individuals Name                              Employer

                       Dr. Inder Thukral                            Kognetics Inc.
                          Raj eev Vaid                              Kognetics Inc.
                           Hetal Shah                               Kognetics Inc.
                      Kartikeyan Nagaiyan                           Kognetics Inc.
                       Gaurav Kshettry                              Kognetics Inc.




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CONFIDENTIAL                                                                         Stratesphere-000061
    Case: 2:20-cv-02972-MHW-CMV Doc #: 140-6 Filed: 05/16/22 Page: 62 of 82 PAGEID #: 6031




                                        Schedule 4.06(e)(k)(v)

                                         Open Source Code




          1.   Stanford NLP
          2.   Apache Solr and Lucene
          3.   Apache Jena
          4.   Protégé for Ontology




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CONFIDENTIAL                                                                Stratesphere-000062
    Case: 2:20-cv-02972-MHW-CMV Doc #: 140-6 Filed: 05/16/22 Page: 63 of 82 PAGEID #: 6032




                                           Schedule 4.08

                                        Material Contracts




          1. The Bakery (for UK, Deloitte)
          2. Harjinder Singh (for DMI in the US)




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CONFIDENTIAL                                                                Stratesphere-000063
    Case: 2:20-cv-02972-MHW-CMV Doc #: 140-6 Filed: 05/16/22 Page: 64 of 82 PAGEID #: 6033




                                               Schedule 4.12

                                                Customers

             Customer Name              Customer Address                Invoiced Amount (MRR)
                                   920 Broadway, 14th Floor, New
       CODE ADVISORS               York, NY 10010                              $   6,666.67
                                   Two Embarcadero Centre, Suite
       Union Square Advisors LLC   1330, San Francisco, CA 94111               $ 15,000.00
       Vista Equity Partners       401 Congress Avenue, Suite 3100,
       Management, LLC             Austin, Texas 78701                         $   6,250.00
                                   115 S LaSalle Street, 37 W,
       BMO Capital Markets Corp    Chicago, IL 60603                           $   1,250.00
                                   10250 Constellation Blvd, 5th Fl.,
       Houlihan Lokey, Inc.        Los Angeles 90067                           $   3,750.00
                                   345 Park Avenue, 37th Floor, New
       KPMG LLP                    York, NY 10154                              $   4,166.67
                                   6110 Stoneridge Mall Rd.,
       Workday, Inc.               Pleasanton, CA 94588                        $   2,710.00
                                   4 Embarcadero Center, Suite 650,
       Lazard Freres & Co. LLC     San Francisco, CA 94111                     $   1,250.00
                                   12 Marina Boulevard, DBS Asia
                                   Central @, Marina Bay Financial,
                                   Centre Tower 3, Singapore
       DBS Bank Ltd                018982                                      $ 15,000.00
                                   1285 Avenue of the Americas,
       UBS Securities LLC          New York, NY 10019.                         $   3,750.00
                                   Unit 6, Dalston Square, London E8
       The Bakery                  3GT                                      $5,000.00 (Trial)
                                   One Rock Spring Plaza, 6550 Rock
                                   Spring Drive, 7th Floor, Bethesda,
       DMI                         MD 20817                                $20,000.00 (Project)




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CONFIDENTIAL                                                                                    Stratesphere-000064
    Case: 2:20-cv-02972-MHW-CMV Doc #: 140-6 Filed: 05/16/22 Page: 65 of 82 PAGEID #: 6034




                                             EXHIBIT A

                                             Bill of Sale




CONFIDENTIAL                                                                Stratesphere-000065
    Case: 2:20-cv-02972-MHW-CMV Doc #: 140-6 Filed: 05/16/22 Page: 66 of 82 PAGEID #: 6035
                                                                                             Execution Version


                                                 BILL OF SALE

                                                 August 22, 2018

              This Bill of Sale (the "Bill of Sale"), dated as of the date first set forth above, is made and
       entered into, by and between Kognetics Inc., a Delaware corporation ("Seller") to and in favor of
       Kognetics LLC, an Ohio, limited liability company ("Purchaser"). The Purchaser and Seller may
       each be referred to herein as a "Party" and collectively as the "Parties."

              WHEREAS, Purchaser and Seller have entered into a certain Asset Purchase Agreement,
       dated as of the date hereof ("APA"), providing for Purchaser to purchase those certain Assets (as
       defined below);

              WHEREAS, Seller is the owner of the assets as set forth on Exhibit A attached hereto
       and incorporated herein by reference (the "Assets");

              WHEREAS, Seller desires to convey, transfer, assign, deliver, and contribute to
       Purchaser all of its right, title, and interest in and to the Assets; and

               WHEREAS, Purchaser shall accept, all rights, title and interest in and to the Assets as
       specified in the APA and this Bill of Sale;

               NOW, THEREFORE, in consideration of the premises and of the terms and conditions
       set forth herein, and for other good and valuable consideration, the receipt and sufficiency of
       which are hereby acknowledged, the Parties, each intending to be legally bound, hereby agree as
       follows:

              1.     Seller hereby sells, grants, conveys, assigns, transfers and delivers to Purchaser
       any and all of Seller's right, title and interest in Assets. Such sale, transfer, conveyance and
       assignment shall be effective on the date hereof.

               2.        The Seller further agrees that it will at any time and from time to time, at the
       request of the Purchaser, execute and deliver to the Purchaser any and all other and further
       instruments and perform any and all further acts reasonably necessary to vest in the Purchaser
       the right, title and interest in or any of the Assets which this instrument purports to transfer to the
       Purchaser. Seller further covenants that it will execute, at Purchaser's expense, all documents,
       papers, forms and authorizations and take all other actions that may be necessary to assist
       Purchaser in registering any trademarks with the United States Patent and Trademark Office and
       other foreign offices, as necessary.

               3.      Any individual, partnership, corporation or other entity may rely, without further
       inquiry, upon the powers and rights herein granted to the Purchaser and upon any notarization,
       certification, verification or affidavit by any notary public of any state relating to the
       authorization, execution and delivery of this Bill of Sale or to the authenticity of any copy,
       conformed or otherwise, hereof.



                                                         1

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CONFIDENTIAL                                                                                     Stratesphere-000066
    Case: 2:20-cv-02972-MHW-CMV Doc #: 140-6 Filed: 05/16/22 Page: 67 of 82 PAGEID #: 6036



               4.     All of the terms and provisions of this Bill of Sale will be binding upon the Seller
       and its successors and assigns and will inure to the benefit of the Purchaser and its successors
       and assigns.

                5.     The Parties acknowledge and agree that the consideration for the purchase and
       sale of the Assets is set forth in the APA, and each Party agrees that such consideration is legally
       sufficient for purposes of the acquisition of the Assets by the Purchaser.

               6.     This Bill of Sale shall be governed by the laws of the State of Ohio, without
       regard to conflicts of law principles thereunder.

               7.     This Bill of Sale is being delivered in connection with the Closing and is made
       subject to the provisions of the APA. In the event of any conflict or inconsistency between this
       Bill of Sale and the APA, the APA shall be the controlling document. Any terms used herein,
       including terms used in the attached Exhibit A, but not otherwise defined herein shall have the
       meaning ascribed to them in the APA.

               8.     A signature transmitted through an electronic medium shall be deemed an
       original.

                                     [Signatures appear on following page]




                                                        2

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CONFIDENTIAL                                                                                  Stratesphere-000067
    Case: 2:20-cv-02972-MHW-CMV Doc #: 140-6 Filed: 05/16/22 Page: 68 of 82 PAGEID #: 6037



              IN WITNESS WHEREOF, the undersigned has executed this Agreement effective as of
       the day and year first above written.



                                                   SELLER:

                                                   Kognetics Inc.
                                                     a Delaware corporation

                                                   By:
                                                   Name:
                                                   Title:




                                                                               Signature Page to
                                                                                     Bill of Sale




CONFIDENTIAL                                                                      Stratesphere-000068
    Case: 2:20-cv-02972-MHW-CMV Doc #: 140-6 Filed: 05/16/22 Page: 69 of 82 PAGEID #: 6038



                                                    Exhibit A
                                                     Assets


               A.     All rights in, to and under the Assigned Contracts and all outstanding offers or
       solicitations made by or to Seller in the Ordinary Course of Business to enter into any Contract
       with respect to the Software;

               B.     all Intangible Assets;

              C.      all Intellectual Property Assets and all Proprietary Intellectual Property Assets (as
       hereinafter defined), including without limitation, such Intellectual Property Assets and
       Proprietary Intellectual Property Assets as are described on Schedule 1.01(c);

              D.      stationery, purchase order and sale order forms and invoices, brochures,
       advertising and promotional materials and similar items relating to the Business;

               E.       all marketing materials, research data (including marketing and concept testing
       data), customer and sales information, literature, advertising and other promotional materials and
       data, display materials and all training materials in whatever medium (e.g., audio, visual, digital
       or print), in each case, primarily used with respect to the Software;

             F.       all websites and website URLs and all social media accounts, including
       administrative rights and access and all content thereon, used in the Business; and

              G.      all goodwill relating to the Business or the Assets, including without limitation all
       goodwill associated with each registered trademark and trademark application and each
       unregistered trademark.

               H.     The Software and Documentation as are described on Schedule 1.01(h).




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                                             EXHIBIT B

                                 Assignment and Assumption Agreement




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            ASSUMED LIABILITIES AND ASSIGNED CONTRACTS ASSIGNMENT AND
                              ASSUMPTION AGREEMENT

               This ASSUMED LIABILITIES AND ASSIGNED CONTRACTS ASSIGNMENT AND
       ASSUMPTION AGREEMENT (this "Assignment") is made this 22nd day of August, 2018, by
       and between Kognetics Inc., a Delaware corporation ("Assignor") and Kognetics, LLC, an Ohio
       limited liability company ("Assignee").

                                                   RECITALS:

               A.      Assignor and Assignee are parties to that certain Asset Purchase Agreement dated
       as of the date hereof (the "APA");

               B.      Pursuant to the APA, Assignor shall assign all of Assignor's rights, title and
       interests in the Assumed Liabilities, the Assigned Contacts and the assigned vendor contracts as
       set forth in the APA, to the Assignee and Assignee shall accept such assignment of the
       Assignor's rights, title and interests in the Assumed Liabilities, Assigned Contracts and assigned
       vendor contracts (collectively, the "Assigned Rights");

              C.     Simultaneously with execution of the APA, Assignor and Assignee shall execute
       this Assignment and all of Assignee's rights title and interest in the Assigned Rights to the
       Assignee; and

              D.      Capitalized terms used herein, but not defined herein, shall have the meaning as
       ascribed to them in the APA.

              NOW, THEREFORE, for valuable consideration, the receipt and sufficiency of which is
       hereby acknowledged, the parties, intending to be legally bound, mutually agree as follows:

       SECTION 1. ASSUMPTION TIME

              1.1     This Assignment shall automatically become effective, without the further action
       of any party hereto, as of the Closing.

       SECTION 2. ASSIGNMENT OF ASSIGNED RIGHTS

              2.1     Assignment of Rights. Subject to the terms and conditions of the APA, Assignor
       hereby assigns, transfers, conveys and delivers to Assignee, and Assignee hereby accepts from
       Assignor, all of Assignor's right, title and interest in and to the Assigned.

               2.2    Assumption of Duties. Subject to the terms and conditions of the APA, Assignee
       hereby assumes and agrees to discharge, perform and fulfill all of the Assignor's duties,
       obligations, and restrictions imposed under the Assigned Rights arising on and after the Closing.

       SECTION 3. REPRESENTATIONS AND WARRANTIES OF ASSIGNOR

               3.1      Assignor hereby represents and warrants to the Assignee that the Assignor has all
       legal right to transfer all of Assignor's rights, title and interest under the Assigned Rights to the



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       Assignee and, unless otherwise agreed to between Assignor and Assignee, the Assignor has
       received the required consents to assign such Assigned Rights to the Assignee.

               3.2    Assignor hereby represents and warrants to the Assignee that, as of the date
       hereof, the Assignor is not in breach of any of its rights under the Assigned Rights.

       SECTION 4. MISCELLANEOUS

               4.1    This Assignment supersedes all other agreements and understandings of the
       parties with respect to this assignment and assumption of the Assigned Rights (other than the
       rights and obligations of the parties as set forth in the APA).

              4.2     This Assignment may be modified or amended only by a written agreement
       executed by all parties hereto.

              4.3    This Assignment and the obligations of the parties hereunder shall be binding
       upon and inure to the benefit of the parties hereto and their respective successors and assigns.

               4.4     This Assignment shall be governed by and construed in accordance with the laws
       of the State of Ohio, without reference to any choice of law principles.

               4.5   This Assignment may be executed in one or more counterparts, each of which
       shall be deemed an original and for purposes of this Assignment signatures received via an
       electronic medium shall be legally binding.

                                          [Signature Page Follows]




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               IN WITNESS WHEREOF, Assignor and Assignee have signed this Assignment on the
       date first above written.

       ASSIGNOR:                                  ASSIGNEE:

       Kognetics, Inc.                            Kognetics LLC


       By:                                        By:
       Name:                                      Name:
       Its:                                       Its:




                                                                                Signature Page to
                                                             Assignment and Assumption Agreement




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                                             EXHIBIT C

                                       Service Mark Assignment




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                                     SERVICE MARK ASSIGNMENT

       1.      DEFINITIONS

       1.1     ASSIGNOR means Kognetics Inc., a Delaware corporation, on behalf of itself and any
       of its owners, wholly owned subsidiaries, related entities, and officers (collectively, "Assignor").

       1.2     ASSIGNEE means Kognetics LLC, an Ohio Limited Liability Company ("Assignee").

       1.3     MARK means and includes each and every property identified in the attached Exhibit A
       that is used as, or is intended for use as, a source designation, including all goodwill, common-
       law rights, and statutory rights in the listed properties.

       1.4      RELATED MARKS means and includes any and all in-use and intended source
       designations, including all goodwill, common-law rights, and statutory rights therein,
       incorporating, part of, resulting from, and/or otherwise associated with any source designation
       listed in Exhibit A.

       1.5     RELATED MARK CASES means and includes:

               a.     any and all (whether or not listed in Exhibit A) United States state applications,
       federal applications, state registrations, federal registrations, common-law usage, Trademark
       Trial and Appeal Board proceedings, other administrative proceedings, alternative dispute
       resolution proceedings, and/or court litigation proceedings incorporating, referring to, relating to,
       and/or embodying any source designation listed in Exhibit A and/or RELATED MARKS; and

               b.     any and all (whether or not listed in Exhibit A) non-United States applications,
       registrations, common-law usage, administrative proceedings, alternative dispute resolution
       proceedings, and/or court litigation proceedings incorporating, referring to, relating to, and/or
       embodying any source designation listed in Exhibit A and/or RELATED MARKS.

       1.6     TRANSFERRED RIGHTS includes, but is not limited to, any and all rights, title, and/or
       interests assigned or otherwise transferred in this assignment.

       1.7     GEOGRAPHIC SCOPE means worldwide.

       1.8     EFFECTIVE DATE means the earliest of (a) the date of first use of the MARK, (b) the
       filing date of the MARK, (c) the filing date of the RELATED MARK CASES, and (d) the date
       this assignment is first signed by at least one of the parties hereto.

       2.     ASSIGNMENT OF RIGHTS

       2.1     Intellectual Property. The ASSIGNOR hereby assigns to the ASSIGNEE all rights, title,
       and interest in and/or to the MARK, RELATED MARKS, and RELATED MARK CASES.

       2.2     Consideration. The ASSIGNOR hereby acknowledges receipt of good, valuable, and
       sufficient consideration from the ASSIGNEE for this assignment.



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       2.3    Right to Claim Priority. The ASSIGNOR hereby assigns to the ASSIGNEE all right, title,
       and interest to claim priority to and/or from the MARK, RELATED MARKS, and RELATED
       MARK CASES.

       2.4    Infringement, Dilution, and Misappropriation. The ASSIGNOR hereby assigns to the
       ASSIGNEE all past, present, and future causes of action for infringement, dilution, unfair
       competition, counterfeiting, and/or misappropriation of the MARK, RELATED MARKS, and/or
       RELATED MARK CASES, whether the infringement, dilution, unfair competition,
       counterfeiting, and/or misappropriation is committed and/or the cause of action therefor comes
       into existence before, during, or after the EFFECTIVE DATE. This assignment specifically
       includes the right to sue for, recover, and collect damages for infringement, dilution, unfair
       competition, counterfeiting, and/or misappropriation of the MARK, RELATED MARKS, and/or
       RELATED MARK CASES that occurred prior to the EFFECTIVE DATE of this Service Mark
       Assignment agreement.

       2.5    Remedies. The ASSIGNOR hereby assigns to the ASSIGNEE all past, present, and
       future remedies for infringement, dilution, unfair competition, and/or misappropriation,
       including, but not limited to, equitable relief, damages, royalties, profits, exceptional case
       awards, attorneys' fees, and costs.

       2.6      Scope. All assignments and/or other transfers of rights and/or title, both legal and
       equitable, made herein are to the full extent of the GEOGRAPHIC SCOPE such that no right,
       title, or interest remains with the ASSIGNOR.

       3.      FUTURE PERFORMANCE

       3.1   Communicate Information. The ASSIGNOR hereby agrees to and will communicate to
       the ASSIGNEE and/or its legal representatives all facts and/or information known to the
       ASSIGNOR with respect to the TRANSFERRED RIGHTS, as reasonably requested by the
       ASSIGNEE.

       3.2    Sign Documents. The ASSIGNOR hereby agrees to and will sign and return any and all
       documents that ASSIGNEE reasonably desires to be signed that are directly or indirectly related
       to the TRANSFERRED RIGHTS. These documents may include, but are not limited to,
       assignments, oaths, declarations, affidavits, and powers of attorney.

       3.3     Legal Proceedings. The ASSIGNOR hereby agrees to and will truthfully testify and/or
       participate in any legal, administrative, and/or quasi-legal proceedings regarding any facts and/or
       information known to the ASSIGNOR related to the TRANSFERRED RIGHTS at the request of
       the ASSIGNEE and/or its legal representatives.

       3.4    Generally Protect Assignee's Rights. The ASSIGNOR hereby agrees to and will do
       everything reasonable to help in securing, maintaining, and/or enforcing rights to the
       TRANSFERRED RIGHTS for the ASSIGNEE.

       3.5    No Additional Consideration Required. The ASSIGNOR agrees to and will perform the
       acts mentioned herein without the requirement of any additional consideration.



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       4.      PRIVILEGE

       4.1     Assignment of Privilege. The ASSIGNOR hereby assigns to the ASSIGNEE all past,
       present, and future rights and privileges related to any attorney-client privilege, common-interest
       privilege, and/or work-product protection of the ASSIGNOR in relation to the TRANSFERRED
       RIGHTS.

       4.2     Prevent Waiver of Privilege. The ASSIGNOR hereby agrees to not engage in any acts
       resulting in the intentional or unintentional waiver of the attorney-client privilege, work-product
       protection, and/or common-interest privilege without the express written authorization from the
       ASSIGNEE and/or its legal representatives.

       4.3    Partial Waiver of Privilege. The ASSIGNOR hereby agrees that any partial waiver of the
       attorney-client privilege, common-interest privilege, and/or work-product protection of the
       ASSIGNOR does not constitute total waiver.

       5.      COVENANTS AND WARRANTIES

       5.1     Authority to Convey. The ASSIGNOR hereby covenants and warrants that the
       ASSIGNOR has the full right and authority to convey the TRANSFERRED RIGHTS assigned
       by this assignment.

       5.2    No Conflicts. The ASSIGNOR hereby covenants and warrants that the ASSIGNOR has
       not executed, and will not execute, any documents, and has not performed, and will not perform,
       any acts conflicting with this Assignment.

       6.      MISCELLANEOUS

       6.1     Issue Registration to Assignee. The ASSIGNOR hereby authorizes and requests that any
       and all registrations (federal, state, and foreign) concerning the MARK, RELATED MARKS,
       and/or RELATED MARK CASES issue to the ASSIGNEE, its successors in interest, its assigns,
       and/or its legal representatives.

       6.2    Severability. If any provision of this assignment is ruled invalid and/or unenforceable by
       a court or other tribunal, such decision shall not affect the validity and/or enforceability of the
       remaining provisions of this assignment.

       6.3    Choice of Law. This assignment shall be interpreted and controlled by the laws of the
       United States, and in particular in accordance with the laws of the State of Ohio, without
       reference to the conflict of law principles thereof. It is further understood that ASSIGNOR
       consents to the federal and state courts of Ohio located in Franklin County in connection with
       any dispute arising under the assignment.

       6.4     Effective Date. This assignment is hereby made effective as of the EFFECTIVE DATE.




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             IN WITNESS WHEREOF, this Assignment has been duly executed by the below signed
       Assignor this 22nd day of August 2018.

                                                    ASSIGNOR:

                                                    Kognetics Inc.,
                                                      a Delaware corporation

                                                    By:

                                                    Name:
                                                    Its:

       STATE OF OHIO
                                           : SS.
       COUNTY OF FRANKLIN

             The foregoing Service Mark Assignment was acknowledged before me this                 day
       of August 2018, by Inder Thukral, CEO of Kognetics Inc., for and on behalf of the corporation.



                                                    Notary Public



                                                   ASSIGNEE:

            Assignee hereby accepts the sale, transfer, and assignment of the TRANSFERRED
       RIGHTS, this 22" day of August, 2018.

                                                    Kognetics LLC
                                                        an Ohio Limited Liability Company


                                                    By:

                                                    Name:

                                                     Its:




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                                                                EXHIBIT A


                                    Mark                           Application No.   Registration No.
                                                                    Filing Date      Registration Date
                   KOGNETICS                                             n/a                n/a
                                                                         n/a                n/a
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                                             EXHIBIT D

                                         Copyright Assignment




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                                            COPYRIGHT ASSIGNMENT


                  WHEREAS, Kognetics Inc., a Delaware corporation ("Assignor"), on behalf of itself and
          any of its owners, wholly owned subsidiaries, affiliates, officers, and employees, is the owner of
          the following copyrights:

                All copyrights relating to, comprised of arising out of or connected with,
                 whether in electronic or print form, services rendered by or products supplied
                 by Kognetics Inc. to its clients, customers, third parties, etc., including but not
                 limited to marketing materials, service/products delivered, proposals,
                 collaterals, process know-how, frameworks, practices, procedures, software,
                formulae, algorithms, etc., at any time from the date of commencement of
                Kognetics Inc. 's operations until the Effective Date under the Asses Purchase
                Agreement, dated August 22, 2018, by and among Stratesphere, LW, Kognetics
                Inc., Kognetics Holding Company LLC, Kognetics LLC, Inder Thukral and
                 Rajeev Vaid and all previous and subsequent editions of any of the foregoing.

                 WHEREAS, Kognetics LLC, an Ohio Limited Liability Company ("Assignee"), is
          desirous of acquiring said copyrights, and Assignor desires to assign all rights in the copyrights,
          including the right to register same and to bring suit, collect damages, and pursue all other
          remedies for past, current, and future infringement, and all goodwill associated said copyrights,
          to Assignee and its successors and assigns.

                   NOW, THEREFORE, in consideration of the sum of one dollar ($1.00) and other good
          and valuable consideration, the receipt and sufficiency of which are hereby acknowledged,
          Assignor hereby assigns to Assignee and its successors and assigns all right, title, and interest
          worldwide in and to said copyrights, including the right to register same and the right to bring
          suit, collect damages, and pursue all other remedies for past, current, and future infringement, and all
          goodwill associated said copyrights.

          Signed in Franklin County, Ohio, this 22nd day of August, 2018, to be effective August 22, 2018.

                                                        Kognetics Inc.
                                                          a Delaware corporation

                                                          By:

                                                         Name:

                                                          Its:




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           STA 1'E OF OHIO
                                                ) SS:
           COUNTY OF

                   Before me, a Notaiy Public in and for said County and State, personally appeared
                                                        of the Assignor, who acknowledged the execution
           of the foregoing Assignment, and who, having been duly sworn, stated that all matters referred to
           therein are true.

                  WITNESS my hand and Notarial Seal this           day of        , 2018.



           My Commission Expires:


                                                                     Notary Public

           My County of Residence:


                                                                            Printed




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CONFIDENTIAL                                                                                   Stratesphere-000082
